(Page 1   of   77)
               Case 1:23-cv-01046-JDB-jay Document 1-1 Filed 03/27/23 Page 1 of 77   PageID 9

          To:"services claims" <sclaims@acuity.com>
          cc:
         bcc:
       From:"SE1NORTHCOLOR" <SE1NORTHCOLOR@acuity.com>
        Date:03-14-2023 12:08:40
     Subject: Send data from MFP13820678 03/14/2023 12:17

     Scanned from MFP13820678
     Date:03/14/2023 12:17
     Pages:76
     Resolution:300x300 DPI


     Attachment: DOC031423-03142023121637.pdf
(Page 2   of    77)
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                 TN
                        Department of
                        Commerce &
                       insurance




               March 07, 2023




               Acuity, A Mutual Ins. Co.                                         Certified Mail
               P O Box 58                                                        Return Receipt Requested
               Sheboygan, WI 53082                                               7020 1290 0001 6213 1599
               NAIC # 14184                                                      Cashier # 230686


               Re:    Edwin Anderson Et Al V. Acuity, A Mutual Ins. Co.

                      Docket # 92Ch12023Cv25550


               To Whom It May Concern

               Pursuant to Tennessee Code Annotated §56-2-504 or § 56-2-506, the Department of
               Commerce and Insurance was served February 24, 2023, on your behalf in connection with
               the above-styled proceeding. Documentation relating to the subject is herein enclosed.

               Designated Agent
               Service of Process

               Enclosures

               cc: Chancery Court Clerk
                   Weakley County
                   P O Box 197, 116 W. Main St., Ste 301
                   Dresden, Tn 38225




                                    State of Tennessee, Department of Commerce & Insurance
                         500 James Robertson Parkway, Service of Process - 10th Floor, Nashville, TN 37243
                                              Service.Process(aAn.gov; 615-532-5260
(Page 3   of    77)
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    T     Weakley County Chancery   STATE OF TENNESSEE \s--j-7 e2se__Numgir
                                                                           ,....2} w
                PO Box 197
           116 West  Main Street          CIVIL SUMMONS            92CH1-2023-CV-25550
            Dresden, TN 38225                   page 1 of 1
               (731)364-3454
             EDWIN ANDERSON (et. al) vs ACUITY A MUTUAL INSURANCE COMPANY (et. al)
     Served On:
        ACUITY A MUTUAL              2800 SOUTH TAYLOR DRIVE
           INSURANCE
                                     Sheboygan, WI 53082
            COMPANY
      NAIC CO CODE: 14184
     You are hereby summoned to defend a civil action filed against you in Weakley County Chancery, Weakley County, Tennessee. Your defense must
     be made within thirty (30) days from the date this summons is served upon you. You are directed to file your defense with the clerk of the court and
     send a copy to the plaintiff's attorney at the address listed below. If you fail to defend this action by the required date, judgment by defy
     rendered against you for the relief sought in the complaint.                                                                              O
     Issued: 2/17/2023                                                                                                                      •
                                                                                          -Cleft/ Dep ty Clerk - t akley County Chanc
     Attorney for Plaintiff:     DRAYTON BERKLEY
                                 1255 LYNNFIELD ROAD SUITE 226, Memphis, TN 38119

                                                        NOTICE OF PERSONAL PROPERTY EXEMPTION                                                     ••••...... ........•
     TO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10,000) personal property exemption as well as a homesthgiggbe.
     from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon your age and the other factors which are
     listed in TCA §26-2-301. If a judgment should be entered against you in this action and you wish to claim property as exempt, you must file a
     written list, under oath, of the items you wish to claim as exempt with the clerk of the court. The list may be filed at any time and may be changed by
     you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
     issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed; these include items of necessary
     wearing apparel (clothing) for your self and your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family
     Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do not understand your exemption
     right or how to execute it, you may wish to seek the counsel of a lawyer. Please state file number on list.
     Mail list to     Regina VanCleave, Weakley County Chancery Clerk, Weakley County
                      PO Box 197
                      116 West Main Street
                      Dresden, TN 38225
                                                        CERTIFICATION (IF APPLICABLE)
     I, Regina VanCleave, Weakley County Chancery Clerk of Weakley County do certify this to be a true and correct copy of the or                               %,     's
     issued in this case.                                                                                                                                         ,9
                                                                                                                                                                   \ -A
     Date:   1 -11-2ID                                                                          -144‘&)                                                         RE
                                                                                                                                                                      *
                                                                  Crlerit-/ De • ut 'Clerk — Weakle Coun Chancer
     OFFICER'S RETURN: Please execute this summons and make your return within ninety (90) days of issuance as provided 4.VgA llit...
                                                                                                                             .............
     I certify that I have served this summons together with the complaint as follows:                                          ........
     Date:                                                                                By:
                                                                                                Please Print: Officer, Title

     Agency Address                                                                             Signature
     RETURN ON SERVICE OF SUMMONS BY MAIL: I hereby certify and return that on                                                    , I sent postage
     prepaid, by registered return receipt mail or certified return receipt mail, a certified copy of the summons    and  a copy of   the complaint
     in the above styled case, to the defendant                               . On                               I received the return receipt,
     which had been signed by                              on                            . The return receipt is attached to this original
     summons to be filed by the Court Clerk.

     Date:
                                                                                      Notary Public / Deputy Clerk (Comm. Expires

      Signature of Plaintiff                                                   Plaintiffs Attorney (or Person Authorized to Serve Process)
                                                           (Attach return receipt on back)
     ADA: If you need assistance or accommodations because of a disability, please call Courtney McMinn, ADA Coordinator, at (731)364-3455
                                                                                                                                        Rev. 8/05/10
(Page 4   of    77)
               Case 1:23-cv-01046-JDB-jay Document 1-1 Filed 03/27/23 Page 4 of 77                        PageID 12




                           IN THE CHANCERY COURT OF WEAKLEY COUNTY, TENNESSEE FOR
                                THE TWENTY-SEVENTH JUDICIAL DISTRICT AT DRESDEN

                      EDWIN ANDERSON AND
                      GENA STALLINGS

                      Plaintiffs,                                             CASE NO.      2c SS 0
                                                                                  WEAKLEY COUNV
                      ACUITY, A MUTUAL INSURANCE
                      COMPANY, and
                      ANTHONY FIRRILIO, P.E.                                          FEB 17 221
                                                                                     TIME q "270
                      Defendants,
                                                                                               MA

                           COMPLAINT TO COMPEL APPRAISAL AND TO BREACH CONTRACT

                             Comes now, Plaintiffs, by and through undersigned counsel, and requests this

                      Honorable Court to select an umpire and order the carrier to comply with the appraisal

                      provision and identify a competent appraiser to participate as mandated in the policy

                      appraisal provision and also sues under Tennessee common law and statutory law and

                      would show this Honorable Court the following:

                      1.        Gwin Anderson and Gena Stallings ("Plaintiffs"), are individuals residing in

                      Weakley County, Tennessee and are the named insureds on the policy who own the

                      property located 213 E. Nelson St. Dresden, Tennessee 38225.

                      2.     Acuity, A Mutual Insurance Company ("Defendant") is a Tennessee Corporations,

                      with its principal place of business located at 2800 South Taylor Drive Sheboygan,

                      Wisconsin 53082-0058 and formed under the laws of the State of Wisconsin, and may be

                      served with process through the Tennessee Commissioner of Insurance as authorized by

                      Rule of the Tennessee Rules of Civil Procedure.Defendant is responsible for the actions of
(Page 5   of    77)
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                      Anthony Firrilio via operation of the doctrines of respondent superior, actual or apparent

                      agency, employer-employee or master —servant.

                      3. Anthony Firrilio is believed to be an adult resident citizen of Tennessee whose business

                      address is 1880 General George Patton Drive, Suite B-203 Franklin, Tennessee 37067, and

                      Mr. Firrilio may be served with process by any means authorized by Rule of the Tennessee

                      Rules of Civil Procedure.

                      4.         Defendants issued Policy No. ZA3401-9 to Plaintiffs providing coverage for

                      tornado damage that occurred at the insured location of 213 Nelson Street Dresden,

                      Tennessee 38225, and that was in effect on the date of loss of December 10, 2021 and

                      assigned Claim No. RK0796, The policy attached herewith as Exhibit "A".

                      5.      Defendant adjuster's estimate of the costs of repair and Plaintiff's Public Adjuster,

                      Mr. William Griffin, estimate of costs for the tornado loss are materially different.

                      6. Plaintiff timely demanded an appraisal on August 9, 2022 in writing and named therein

                      competent appraiser, and all conditions precedents for Defendants to identify a competent

                      appraiser and choose an umpire have occurred, yet Defendant failed to comply, and the

                      process cannot proceed as mandated by the policy. A copy of the Demand is attached

                      herewith as Exhibit "A2" .

                                  COUNT I COMPEL APPRAISAL AND APPOINT UMPIRE

                      7.        The policy appraisal provision provides as follows:
                      E. LOSS CONDITIONS

                      2. Appraisal
                      If we and you disagree on the value of the property or the amount of loss, either may
                      make written demand for an appraisal of the loss. In this event, each party will select a
(Page 6   of    77)
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                      1     For purposes of judicial economy, only the Declarations Page and Appraisal
                      provision of the policy are attached as Exhibit "A", to preclude the necessity for the
                      Judge to "rifle through" a voluminous policy to locate the limited provisions relevant
                      to this proceeding (e.g. the Appraisal Provision)




                      competent and impartial appraiser. The two appraisers will select an umpire. If they
                      cannot agree, either may request that selection be made by a judge of a court having
                      jurisdiction. The appraisers will state separately the value of the property and amount of
                      loss. If they fail to agree, they will their differences to the umpire. A decision agreed to
                      by any two will be binding. Each party will: a. Pay its chosen appraiser; and b. Bear the
                      other expenses of the appraisal and umpire equally.
                      If there is an appraisal, we will still retain our right to deny the claim. See Exhibit "Al"

                      8.      The policy language further states in the "Loss Payment" terms listed on pages 25-
                      27, further states, in pertinent part, that,

                               5.     Loss Payment
                                      In the event of loss or damage covered by this
                                      policy:

                               g.     We will pay for covered loss or damage within
                                      30 days after we receive the sworn proof of
                                      loss, provided you have complied with all of
                                      the terms of this policy, and:
                                      (1) We have reached agreement with you on
                                      the amount of loss; or

                                     (2) An appraisal award has been made.     See Exhibit "AT'Pages 3-5.


                      9.     Both parties are entitled to an expeditious appraisal, pursuant to the policy language,

                      with two competent appraisers and an impartial umpire, as these three are essential to an

                      effective and fair process.

                                              COUNT II. UMPIRE QUALIFICATIONS


                      10.           Although the policy provision does not outline the criteria to be used in the

                      umpire selection process "Generally accepted insurance principles dictate only that 'an

                      umpire selected to arbitrate a loss should be disinterested, unprejudiced, honest, and
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                      competent. "' Brothers v. Generali Us. Branch, No. CIV.A. 1:97-CV-798-MHS, 1997 WL

                      578681, at *3 (N.D. Ga. July 11, 1997) (quoting 6 Appleman, Insurance Law and Practice

                      § 3928, at 554 (1972». The umpire "should be impartial, honest, and competent, and should

                      not live an unreasonable distance from the scene of the loss." Corpus Juris Secundum,

                      Insurance § 1897 (2011) See, e.g., 6 Appleman, Insurance Law and Practice § 3928, at 554

                      (1972); Corpus Juris Secundum, Insurance § 1897 (2011).

                      11.        Petitioner respectfully proposes the well-qualified individuals below who have no

                      business or personal relationships with either party, and meet the criteria described herein.

                            a)    Ben Perry — TN / Dir. Of Appraisals — CV attached
                            b)    Scott Heidelberg — TN — Certified PLAN Ump/Appr- CV attached
                            c)    Andy Fraraccio — Intrust Claims — CV attached
                            d)    Zach Baker — TN - The David Group - Certified Umpire — CV attached
                            e)    Mary Jo O'Neal — TN/Ind. Adj./- Certified Umpire-CV attached.
                            1) Chris Williamson — TN — Restoration GC — CV attached.
                            g) David Hilsdon — Lie. Engineer, P.E. TN — CV attached.


                      12. This Honorable Court is authorized by the consent of the parties', and as outlined in

                      the policy appraisal provision, to choose an impartial umpire and/or a competent appraiser,

                      if necessary, upon the request of either party.

                                                 COUNT III BREACH OF CONTRACT

                      13. The Plaintiff incorporates the foregoing allegations as if fully set forth herein.

                      14. Defendant materially breached the insurance contract by failing to agree to the appraisal

                      process when properly demanded.

                                                   COUNT IV PUNITIVE DAMAGES

                      15. The Plaintiff incorporates the foregoing allegations as if fully set forth herein.
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                      16.Defendants conduct was reckless in light of the foregoing allegations and entitled

                      Plaintiff to an award of punitive damages

                                          COUNT V FRAUDULENT INSURANCE ACT

                      17.The Plaintiff incorporates the foregoing allegations as if fully set forth herein.


                      18.    Defendants staff adjuster, Joseph Morrow, made false statements and material

                      misrepresentation of facts and policy coverage terms violating the Fraudulent Insurance

                      Act in his October 26, 2022 to an insured and a claims professional / practitioner by stating,

                      "Acuity continues to acknowledge receipt of a demandfor appraisal of the amount of loss

                      to the insured premises dated August 9, 2022 by Dr. Gwin Anderson. As previously advised,

                      Acuity must decline to participate in the Appraisal process until all coverage issues are

                      investigated and resolved, and compliance with the Policy condition requiring an

                      Examination Under Oath is achieved. ", and to "determine if appraisal is appropriate."

                      Morrow knew at all times that there were no coverage issues and that an EUO was not a

                      prerequisite to Defendants mandatory participation in the appraisal process after Plaintiffs

                      proper demand on August 9, 2022.          Morrow's actions constitute a violation of the

                      Fraudulent Insurance Act found at §56-53-103(a)(1) and has wrongfully delayed an denied

                      the payment of benefits to Plaintiff. A copy of this letter is incorporated herein by reference

                      as Exhibit "Bl".


                      19. On June 6, 2022, Anthony Firrilio, who on information and belief is a resident of the

                      State of Tennessee, and whose business address is 1880 General George Patton Drive,

                      Suite B-203 Franklin, Tennessee 37067, while in the Course and scope of his employment

                      with Acuity, presented false information to an insured and an insurance professional related

                      to an insurance claim by falsely stating in his assessment report on page .4 of his damage
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                      report (Exhibit "C") that, "No cracks, gaps, and/or separations were noted in the brick

                      veneer along the various elevations (Photographs 6 through 8)", knowing that Plaintiffs

                      detailed photo damage report showed photos on every page that refute this statement in its

                      entirety (see Exhibit "D 1-20"). Firrilio's action constitute a violation of the Fraudulent

                      Insurance Act found at §56-53-103(a)(1) and have wrongfully delayed and denied the

                      payment of benefits to Plaintiff. A copy of this Report is incorporated herein by reference

                      as Exhibit "C".


                      20.   The actions of Firrilio, Morrow, and A, Acuity are part of a pattern or practice of

                      violation of the Fraudulent Insurance Act that entitles the Plaintiffs to treble damages.

                             WHEREFORE, ALL PREMISES CONSIDERED, PLAINTIFF requests the court

                      enter an order to compel appraisal, appoint umpire, award pre judgment interest, post-

                      judgment interest, compensatory damages, attorney fees, treble damages, expenses and

                      other damages and expenses authorized by §56-53-107 of no less than THREE

                      MILLION DOLLARS AND punitive damages of no less than TEN MILLION

                      DOLLARS.



                                                                                             spectfully s


                                                                                        Drayton    kley, = 12261
                                                                                            Counselfor Plaintiffs
                                                                                   The Berkley Law Firm, PLLC
                                                                                    1255 Lynnfield Road Ste 226
                                                                                            Memphis, TN 38119,
                                                                                            Phone. 901-322-8706
                                                                                     attomeyberkleyicegmail.com
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                                                  CERTIFICATE OF SERVICE

                      I do hereby certify that the foregoing document has been served upon the counsel of record
                      or parties pro se in this cause ONLY BY ELECTRONIC TRANSMISSION, as follows:

                      Parks T. Chastian, Esq.
                      Matthew B. Rogers, Esq.
                      BREWER, KRAUSE, BROOKS & CHASTAIN, PLLC
                      545 Main Stream Drive Suite 101
                      Nashville, TN 37228
                      Attorneysfor Defendants

                      Anthony Firrilio, P.E.
                      1880 General George Patton Dr.
                      EFI Global, Inc.Suite B-203
                      Franklin, Tennessee 37067
                      615.778.0160
                      anthony.firriolo@efiglobal.com




                                                                                         on Berkley, # 02261
                                                                                         ounselfor Plaintiffs
                                                                                 The B kley Law Firm, PLLC
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                                       •
                                                                                                            ilth;s4,
                             acuity
                                 INSURANCE
                                                   TM



                                                                                                     COMMERCIAL PROPERTY
                                                                                                          COVERAGE PART
                Acuity, A Mutual Insurance Company
                                                          Renewal Declarations

                First Named Insured and Address:                                     Agency Name and Number:

                WILLIAM J ANDERSON                                                   WESTAN INSURANCE-MARTIN
                137 N PARKWAY ST                                                     7611-AD
                DRESDEN TN 38225
                                                                                     Policy Number: ZA3401

                                                                                     Policy Period:    Effective Date:         06-12-21
                                                                                                       Expiration Date:        06-12-22
                In return for the payment of the premium and subject to                                12:01 A.M. standard time at
                all the terms of the policy, we agree to provide the                                   your mailing address shown
                insurance coverage as stated in the same.                                              in the declarations




                COVERAGES PROVIDED AND COVERAGE PREMIUMS

                Coverage is provided where a Limit of Insurance is shown.

                           Coverage        Premises     Building        Limit of           Covered     Coinsurance           Premium
                             Item          Number       Number        Insurance            Causes      Percentage
                                                                                           of Loss

                Building                      001         001              297,754        Special         100%                  1,534.00
                Building                      002         001              107,191 Special                100%                    751.00

                       Total Property Coverage Premium                                                                   $     2,285.00




                COVERAGE FORMS AND ENDORSEMENT PREMIUMS APPLICABLE TO THIS COVERAGE PART

                Form Number           Form Title                                                                               Premium
                CP-0090F (07-88)      Commercial Property Conditions
                CP-7078 (11-13)       Equipment Breakdown Coverage                                                               139.00
                IL-0017F (11-98)      Common Policy Conditions
                CP-7062 (08-10)       Water Backup and Sump Overflow                                                               35.00
                CP-1030F (09-14)      Causes of Loss - Special Form
                IL-0250F (03-14)      Tennessee Changes - Cancellation and Nonrenewal
                CP-7094 (09-14)       ACUITY Advantages
                IL-0935F (07-02)      Exclusion of Certain Computer-Related Losses
                CP-0140F (07-06)      Exclusion of Loss Due to Virus or Bacteria
                IL-0995R (01-15)      Conditional Exclusion of Terrorism (Relating to Disposition of Federal Act)
                IL-7080 (01-15)       Cap on Losses from Certified Acts of Terrorism                                               69.00
                IL-7082 (12-20)       Disclosure Pursuant to Terrorism Risk Insurance Act
                CP-0010R (10-16)      Building and Personal Property Coverage Form

                       Total Endorsement Premium                                                                                  243.00




            CP-7000(12-08)                                      Policyholder - Original                                       SO 01 05/11/21
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                                                                                                                    Page 2
                                                                                         Policy Number:            ZA3401
                                                                                         Effective Date:          06-12-21



                 PREMIUM SUMMARY

                        Total Property Coverage Premium                                                     $     2,285.00
                        Total Endorsement Premium                                                                   243.00

                        Total Advance Premium                                                               $     2,528.00



                 ASCRIPTION OF PREMISES

                                      P remises                              Construction,
                                      Ourpber --     NuMber             0ccupancy .and LocMict

                                                                FRAME
                                                                APARTMENT BUILDINGS: 5-60 UNIT§
                                                                213E NELSON ST
                                                                DRESDEN TN
                                                                FRAME
                                                                DUPLEX
                                                                   & 163 E MAIN ST
                                                                DRESDEN TN

                 MORTGAGE HOLDER NAME AND ADDRESS


                          Premises     Building                 Mortgage Holder                   Loan Number
                          Number       Number

                              002        001        SIMMONS BANK
                                                    PO BOX 9067
                                                    PINE BLUFF AR 71611


                 OPTIONAL COVERAGES INCLUDED

                 Applicable only when entries are made in the Schedule below:
                                                                                                Agreed Value         Inflation
                                         Premises    Building                             Expiration                  Guard
                  Coverage Item          Number      Number            Deductible           Date        Amount      Percentage

           Building                         001        001      $   2,500                                                6%
           Building                        002         001      $   1,000                                                6%



                 ADDITIONAL NAMED INSUREDS

                        WHO IS AN INSURED includes the following Additional Named Insureds:

                        NONE




             CP-7000(12-08)                                                                                      SO 01 05/11/21
                                                                                                                                 A-1
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                    Loss to Building #1:                           $70,000                                will not increase the applicable Lim-
                       (Exceeds Limit of Insurance plus                                                   it of Insurance. However, we will not
                       Deductible)                                                                        consider any expenses incurred in
                    Loss to Building #2:                           $90,000                                order to protect the Covered
                       (Exceeds Limit of Insurance plus                                                   Property from a cause of loss that is
                       Deductible)                                                                        not a Covered Cause of Loss. Also,
                    Loss Payable - Building #1:                    $60,000                                if feasible, set the damaged
                       (Limit of Insurance)                                                               property aside and in the best
                    Loss Payable - Building #2:                    $80,000                                possible order for examination.
                       (Limit of Insurance)                                                               At   our request, give us complete
                                                                                                      (5)
                    Total amount of loss payable:                 $140,000                                inventories of the damaged and un-
                E. LOSS CONDITIONS                                                                        damaged property. Include quantit-
                   The following conditions apply in addition to the                                      ies, costs, values and amount of
                   Common Policy Conditions and the Commercial                                            loss claimed.
                   Property Conditions:                                                               (6) As often as may be reasonably re-
                   1. Abandonment                                                                         quired, permit us to inspect the
                                                                                                          property proving the loss or dam-
                         There can be no abandonment of any prop-                                         age and examine your books and

                   e
                        frerty to us.                                                                     records.
                                                                                  appraisal
                     . Appraisal                                                                          Also permit us to take samples of
                       If we and you disagree on the value of the                                         damaged and undamaged property
                       property or the amount of loss, either may                                         for inspection, testing and analysis,
                       make written demand for an appraisal of the                                        and permit us to make copies from
                       loss. In this event, each party will select a                                      your books and records.
                       competent and impartial appraiser. The two                                     (7) Send us a signed, sworn proof of
                       appraisers will select an umpire. If they                                          loss containing the information we
                       cannot agree, either may request that se-                                          request to investigate the claim. You
                       lection be made by a judge of a court hav-                                         must do this within 60 days after our
                       ing jurisdiction. The appraisers will state                                        request. We will supply you with the
                       separately the value of the property and                                           necessary forms.
                       amount of loss. If they fail to agree, they will
                                                                                                      (8) Cooperate with us in the investiga-
                       submit their differences to the umpire. A
                                                                                                          tion or settlement of the claim.
                       decision agreed to by any two will be bind-
                       ing. Each party will:                                                    b.   We may examine any insured under
                                                                                                     oath, while not in the presence of any
                       a. Pay its chosen appraiser; and
                                                                                                     other insured and at such times as may
                        b. Bear the other expenses of the apprais-                                   be reasonably required, about any mat-
                           al and umpire equally.                                                    ter relating to this insurance or the
                      If there is an appraisal, we will still retain our                             claim, including an insured's books and
                      right to deny the claim.                                                       records. In the event of an examination,
                                                                                                     an insured's answers must be signed.
                   3. Duties In The Event Of Loss Or Damage
                                                                                           4. Loss Payment
                        a.   You must see that the following are
                             done in the event of loss or damage to                           a. In the event of loss or damage covered
                             Covered Property:                                                   by this Coverage Form, at our option,
                                                                                                 we will either:
                             (1) Notify the police if a law may have
                                 been broken.                                                         (1) Pay the value of lost or damaged
                                                                                                          property;
                             (2) Give us prompt notice of the loss or
                                 damage. Include a description of the                                 (2) Pay the cost of repairing or
                                 property involved.                                                       replacing the lost or damaged
                                                                                                          property, subject to b below;
                             (3) As soon as possible, give us a de-
                                 scription of how, when and where                                     (3) Take all or any part of the property
                                 the loss or damage occurred.                                             at an agreed or appraised value; or
                                                                                                      (4) Repair, rebuild or replace the prop-
                             (4) Take all reasonable steps to pro-
                                                                                                          erty with other property of like kind
                                 tect the Covered Property from fur-
                                                                                                          and quality, subject to b below.
                                 ther damage and keep a record of
                                 your expenses reasonably incurred                                    We will determine the value of lost or
                                 to protect the Covered Property. We                                  damaged property, or the cost of its
                                 will consider these expenses in                                      repair or replacement, in accordance
                                 the settlement of a claim, but this                                  with the applicable terms of the Valu-


           CP-0010R(10-16)              Includes copyrighted material of Insurance Services Office, Inc., with its permission.     Page 10 of 15
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                           ation Condition in this Coverage Form                                    Of Recovery Against Others To Us
                           or any applicable provision which                                        Condition in this policy.
                           amends or supersedes the Valuation                             5. Recovered Property
                           Condition.
                                                                                              If either you or we recover any property after
                      b.   The cost to repair, rebuild or replace                             loss settlement, that party must give the
                           does not include the increased cost at-                            other prompt notice. At your option, the
                           tributable to enforcement of any ordi-                             property will be returned to you. You must
                           nance or law regulating the construc-                              then return to us the amount we paid to you
                           tion, use or repair of any property.                               for the property. We will pay recovery ex-
                           We will give notice of our intentions                              penses and the expenses to repair the re-
                           within 30 days after we receive the                                covered property, subject to the Limit of
                           sworn proof of loss.                                               Insurance.
                      d.   We will not pay you more than your                             6. Vacancy
                           financial interest in the Covered Prop-                            a.    Description Of Terms
                           erty.
                                                                                                    (1) As used in this Vacancy Condition,
                      e.   We may adjust losses with the owners of                                      the term building and the term
                           lost or damaged property if other than                                       vacant have the meanings set forth
                           you. If we pay the owners, such pa-                                          in (1)(a) and (1)(b) below:
                           yments will satisfy your claims against
                           us for the owners' property. We will not                                      (a)    When this policy is issued to
                           pay the owners more than their financial                                             a tenant, and with respect to
                                                                                                                that    tenant's   interest  in
                           interest in the Covered Property.
                                                                                                                Covered Property, building
                      f.   We may elect to defend you against                                                   means the unit or suite rented
                           suits arising from claims of owners of                                               or leased to the tenant. Such
                           property. We will do this at our ex-                                                 building is vacant when it does
                           pense.                                                                               not contain enough business
                           We will pay for covered loss or damage                                               personal property to conduct
                           within 30 days after we receive the                                                  customary operations.
                           sworn proof of loss if you have com-                                          (b)    When this policy is issued to
                           plied with all of the terms of this Cov-                                             the owner or general lessee of
                           erage Part and:                                                                      a building, building means the
                           (1) We have reached agreement with                                                   entire building. Such building
                               you on the amount of loss; or                                                    is vacant unless at least 31%
                                                                                                                of its total square footage is:
                           (2) An appraisal award has been made.
                                                                                                                (i) Rented to a lessee or
                      h.   A party wall is a wall that separates                                                      sub-lessee and used by
                           and is common to adjoining buildings                                                       the lessee or sub-lessee
                           that are owned by different parties. In                                                    to conduct its customary
                           settling covered losses involving a party                                                  operations; and/or
                           wall, we will pay a proportion of the loss
                           to the party wall based on your interest                                             (ii) Used by the building own-
                           in the wall in proportion to the interest                                                 er to conduct customary
                           of the owner of the adjoining building.                                                   operations.
                           However, if you elect to repair or replace                               (2) Buildings under construction or ren-
                           your building and the owner of         the                                   ovation are not considered vacant.
                           adjoining building elects not to repair or                         b. Vacancy Provisions
                           replace that building, we will pay     you
                           the full value of the loss to the party                               If the building where loss or damage
                           wall, subject to all applicable policy                                occurs has been vacant for more than
                           provisions including Limits of Insurance,                             60 consecutive days before that loss or
                           the     Valuation    and     Coinsurance                              damage occurs:
                           Conditions and all other provisions of                                (1) We will not pay for any loss or
                           this Loss Payment Condition. Our                                           damage caused by any of the fol-
                           payment under the provisions of this                                       lowing, even if they are Covered
                           paragraph does not alter any right of                                      Causes of Loss:
                           subrogation we may have against any
                                                                                                         (a)    Vandalism;
                           entity, including the owner or insurer of
                           the adjoining building, and does not alter                                    (b)    Sprinkler leakage, unless you
                           the terms of the Transfer Of Right                                                   have protected the system
                                                                                                                against freezing;


           CP-0010R(10-16)            Includes copyrighted material of Insurance Services Office, Inc., with its permission.       Page 11 of 15
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             Case 1:23-cv-01046-JDB-jay Document 1-1 Filed 03/27/23 Page 15 of 77                                                                            PageID 23



       August 9, 2022



       Acuity Insurance / Joseph Morrow
       2800 S. Taylor Dr.
       Sheboygan, WI 53081
       P. 800.242.7666 F. 920.208.3057
       jmorrow(&,aculty.com

       From:: Named Insured:                                     Dr, Anderson
                   Address:                                      213 E Nelson Street
                                                                 Dresden, TN 38225
                   Policy Number:                                ZA3401
                   Claim Number:                                 RKO796



                                                                    ///// TRANSMITTAL VIA EMAIL /////

       Mr. Morrow:

       In accordance with the Appraisal provision in my policy, as noted below, we have a disputer regarding the value of my property and
       the amount of my loss. I now formally demand appraisal as directed by the provision that reads as follows:

       2. Appraisal

       If we and you disagree on the value of the property or the amount of loss, either may make written demandfor an appraisal of the loss. In this event, each party will
       select a competent and impartial appraiser. The two appraisers will select an umpire. If they cannot agree, either may request that selection be made by a judge of a
       court having jurisdiction. The appraisers will state separately the value of the property and amount of loss. If they fail to agree, they will their differences to the umpire.
       A decision agreed to by any two will be binding. Each party will:
       a. Pay its chosen appraiser; and
       b. Bear the other expenses of the appraisal and umpire equally.
       If there is an appraisal, we will still retain our right to deny the claim


       My demand encompasses the Amount of Loss included in all policy Coverages available and resulting from the tornado occurrence -
       and I designate my appraiser as follows:

       Mary Jo O'Neal
       615.849.6400
       Maryjo6400@aol.com

       Please designate your Appraiser and have him/her contact Ms. O'Neal as soon as possible.

       Sincerely,

       Dr Gwin Anderson




       -+
       Enclosures: N/A                                                                            CC: M. O'Neal
                                                                                                      J. Morrow
                                                                                                      G. Stallings
(Page 16     of      77)
              Case 1:23-cv-01046-JDB-jay Document 1-1 Filed 03/27/23 Page 16 of 77                                                            PageID 24



                               acuit
                                   N.,   CAN   t

                                                        Payment Amount   $12.313.59                         Temporary I 0     BBVKVNZ
                                                       Date Is Berl      October 26, 2022                   Claim Number      RK0796           JPM
                                                       Date ot Loss      December 10, 2021                  Services Dates
                                                       Invoice Nampo(                                       Pay Period
                       Numb,    ZA 3401                Agency   WESTAN INSURANCE-MARTIN
                        fr,sort,:, Name
                        ANDERSON, WILLIAM J

                             WILLIAM J ANDERSON
                  synlerit       ADDITIONAL ACV PAYMENT ON FINAL
                                 REPAIR ESTIMATE.
            Rsy,en.: Dow.        S12.31;3      59         BUILDING


                             FOR QUESTIONS REGARDING YOUR PAYMENT, PLEASE CALL;
                             JOSEPH MORROW, CLAIM REPRESENTATIVE
                             920.458.9131



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                                                                                                     f ers.O1                                         eff
                                                                                                     g
                       WILLIAM J ANDERSON
                       137 N PARKWAY ST
                       DRESDEN TN 38225


                                                                  PLEASE KEEP THIS NOTICE FOR YOUR RECORDS

                                         IIRADLINIY FROM VP TO eOrYCO VERIFY A RREIOICITYl                 SECURITY FEATURES gICLL/Of 0 • DE1MA ON RACK




                                     •
                                                                                                      PRESENT FOR PAYMENT
                                                                                                                                             13526204
                                                       BankFirst National                                WITHIN 60 DAYS
                                                       Manitowoc, Oil                        DATE ISSUED                     CLAIM NUMBER
                               csisuRANcE
                                                                                 October 26, 2022                            RK0796
                                                                                                                                                          79-113
                                                                                egassigiagagoommosaiwa                                                     759
       PAY    TO THE         WILLIAM J ANDERSON
           ORDER OF




       THE SUM OF               $12,313 DOLLARS AND 59 CENTS                                                                          $12,313.59

       IN PAYMENT OF            ADDITIONAL ACV PAYMENT ON FINAL
                                REPAIR ESTIMATE.
       Acuity, A WWI insurance Company                                                                                       AUTHOR     REPRESENTATIVE



                               II' 13 2E, 2040 :07590                           3Lo:          2111550U106?3►I'
(Page 17   of   77)
           Case 1:23-cv-01046-JDB-jay Document 1-1 Filed 03/27/23 Page 17 of 77                                         PageID 25


                                                                                                      EA                 13286960

                                       Nomakmicot $36,692,05                             Tailoring (0     BBT69LL
                                      ,000biLse   January 06, 2022                       Ctaan tart*      RK0796            JPM
                                       ostiortems December 10, 2021                      Sank,'Dam*

                                      ltaaloa Sumba'                                     Pay Period

                                      NOVI    WESTAN INSURANCE-MARTIN




                      WILLJAMJ ANDERSON'
                         TORNADO DAMAGE lo APARTMENT BLDG
                         LESS $2,500 DEDUCTIBLE.
                            .692.06       BUILDING


                  MIR QUESTIONS REGARDING YOUR PAYMENT, PLEASE CALL:
                  JOSEPH MORROW, CLAIM REPRESENTATIVE




                WILLIAM'J ANDERSON
                137 N PARKWAY ST
                DRESDEN TN 38225


                                                 PLEASE KEEP THIS NOTICE FOR YOUR RECORDS

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                                                                                 PRE %ENT FOR PAYWOil                    13286960
                                       90*Firat National                             Vernirti Col) DAYS
                                       Manitowoc, WI
                                                                      oAre                             CtAiM Nuking
                                                              January 06, 2022                         RK0796
                                                                                                                                    79-113
                                                                                                                                     759
                      • WILLIAM J ANDERSON



                         $38,892 DOLLARS AND 05 CENTS                                                          $38,692.05

                 Ite     TORNADO DAMAGE TO APARTMENT BLDG
                        .LESS $2,500 DEDUCTIBLE.
                           company
                                                vacuity- 65(1".4v 6.1
(Page 18   of   77)
            Case 1:23-cv-01046-JDB-jay Document 1-1 Filed 03/27/23 Page 18 of 77                                PageID 26




                                                                                  NCE               i da/PPA    .1   0   60 ; 0

                October 26, 2022                                                                    cao Att
                Mr. William J. Anderson
                137 North Parkway Street
                                                                                                       Apr",
                Dresden, TN 38225

                RE:          Insured:    William J Anderson
                             Claim No:   RK0796
                             D/L:        12/10/2021

                Dear Mr. Anderson:

                Acuity, A Mutual Insurance Company ("Acuity"), has been continuing to investigate the
                damage claimed to the property located at 213 E. Nelson St., Dresden, TN 38225 ("Insured
                Premises") as the result of wind damage on or about December 10, 2021 ("the Claim") under
                a full reservation of rights dated April 12, 2022 and June 8, 2022 under Policy ZA3401 (the
                "Policy"). As you know, Acuity retained an engineer to inspect the property and provide
                opinions as to the damage and repairs. This inspection was completed on May 11, 2022. We
                have revised our estimate to reflect the findings of the engineer and have enclosed a copy of
                the engineering report and revised estimate. Acuity has determined an additional payment is
                warranted, and I am writing to provide that additional payment.

                Acuity has previously issued payment to you in the amount of $36,692.05. We are attaching
                an estimate of repair that explains the full replacement cost of undisputed covered repairs, as
                well as the actual cash value of those repairs. Actual cash value ("ACV") is simply the
                replacement cost less applicable depreciation, which is determined by the age, condition and
                obsolescence of the damaged property. There is a difference of $12,313.59 in the undisputed
                covered damage between this estimate, and prior payments, so the ACV of the damage, has
                been issued. A breakdown of the undisputed payments and amount of loss is as follows:

                                                          BUILDING REPAIR
                                  Replacement Cost:                                               $59,028.67
                                  Less Depreciation:                                              ($7,523.03)
                                  Actual Cash Value Settlement:                                   $51,505.64
                                  Deductible:                                                      $2,500.00
                                  Less Previous Payment:                                         ($36,692.05)
                                  Building Payment:                                               $12,313.59

                Payment is made pursuant to the following Policy provisions of the Building and Personal
                Property Coverage Form:

                                                 2800 South Taylor Drive • Sheboygan, WI 53081
                                                       812.673.4004 . 920.208.3057 FAX
                                                                   ac.ufty .037;

           S-291CHO(12-16)                           Acuity, A Mutual Insurance Company
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      30 days after reciept carrier will notify of intentions



                             4.   Loss Payment

                                  a.     in the event of loss or damage covered by this Coverage Form, at
                                         our option, we will either:

                                         (1)    Pay the value of lost or damaged property;

                                         (2)    Pay the cost of repairing or replacing the lost or damaged
                                                property, subject to b below;

                                         (3)    Take all or any part of the property at an agreed or
                                                appraised value; or

                                         (4)    Repair, rebuild or replace the property with other property of
                                                like kind and quality, subject to b below.

                                         We will determine the value of lost or damaged property, or the cost
                                         of its repair or replacement, in accordance with the applicable terms
                                         of the Valuation Condition in this Coverage Form or any applicable
                                         provision which amends or supersedes the Valuation Condition.

                                  b.     The cost to repair, rebuild or replace does not include the increased
                                         cost attributable to enforcement of any ordinance or law regulating
                                         the construction, use or repair of any property.

                                  c.    We will give notice of our intentions within 30 days after we receive
                                        the sworn proof of loss.

                                  d.    We will not pay you more than your financial interest in the Covered
                                        Property.

                                  e.    We may adjust losses with the owners of lost or damaged property
                                        if other than you. If we pay the owners, such payments will satisfy
                                        your claims against us for the owners' property. We will not pay the
                                        owners more than their financial interest in the Covered Property.

                                  f.    We may elect to defend you against suits arising from claims of
                                        owners of property. We will do this at our expense.

                                        We will pay for covered loss or damage within 30 days after we
                                        receive the sworn proof of loss if you have complied with all of the
                                        terms of this Coverage Part and:

                                        (1)     We have reached agreement with you on the amount of
                                                loss; or

                                       V(2)     An appraisal award has been made.




           S-291CHQ(12-18)                             Acuity, A Mutual Insurance Company                        Page 2 of 4
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                 Acuity's obligations under the Policy once loss or damage to Covered Property that is not
                 excluded has occurred is, at Acuity's option, to pay the value of the property, the cost of repair
                 or replacing the property, take any of the property at an agreed or appraised value, or
                 Cincinnati has the option of repairing, rebuilding or replacing the property with property of like
                 kind and quality. In this case, Acuity has elected to pay the cost of repairing or replacing the
                 property, subject to the remaining terms and provisions of the Policy.

                 The Policy's Valuation provision provides, as follows:

                             7.   Valuation

                                  We will determine the value of Covered Property in the event of loss or damage
                                  as follows:

                                  a.     At actual cash value as of the time of loss or damage, except as provided
                                         in b, c, d, and e below.

                 Based on the above-quoted portions of the Policy, Acuity's obligation is to pay the ACV as of the
                 time of loss or damage. The enclosed supplemental payment, in addition to our previous
                 payment, reflects the full ACV of the loss or damage based on the scope of repairs identified by
                 Acuity's engineer. Acuity would like to advise you that you may use any contractor you wish to
                 complete the repairs. Please consider a contractor that is licensed, insured and bonded. We
                 do not guarantee or warranty the contractor's work.

                                                   ADDITIONAL INVESTIGATION

                 Acuity continues to acknowledge receipt of a demand for appraisal of the amount of loss to
                 the Insured Premises dated August 9, 2022 by Dr. Gwin Anderson. As previously advised,
                 Acuity must decline to participate in the Appraisal process until all coverage issues are
                 investigated and resolved, and compliance with the Policy condition requiring an Examination
                 Under Oath is achieved. Acuity's counsel, Brewer, Krause, Brooks & Chastain, PLLC, has
                 confirmed with Gwin Anderson the Examination Under Oath of William Anderson and/or
                 William Anderson's legal representative will take place on November 3, 2022 at 1:00 PM CST
                 at the Weakley County Mayor's Office, 116 West Main Street, Room 105/106 Dresden, TN
                 38225. Once the Examination Under Oath has taken place, Acuity will evaluate whether a
                 dispute as to the amount of loss exists and determine whether appraisal is appropriate.

                 All rights, terms, and conditions contained in the Policy are preserved for your benefit and that
                 of Acuity, A Mutual Insurance Company. It should be expressly understood that no decision
                 has been made regarding your Claim and that our furnishing you with the enclosed forms and
                 information does not constitute any agreement as to the amount of your Claim or coverage
                 under the Policy.

                 Thank you for your attention to this matter. Should you have any questions, please do not
                 hesitate to contact me.

                 Sincerely,

           S-291CHQ(12-16)                             Acuity, A Mutual Insurance Company                    Page 3 of 4
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                 ACUITY, A MUTUAL INSURANCE COMPANY



                 Joseph P. Morrow, AIC
                 Senior Field Claims Representative

                 Enclosures: Engineer Report & Estimate

                 Cc:         William Griffin
                             128 Poplar Street
                             Gadsden, TN 38337




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              Case
 Griffin Building    1:23-cv-01046-JDB-jay
                  Consultants Mail - RK 0796 Document 1-1 Filed   03/27/23 Page 22 of 77 PageID 30             --pt&search—a...
                                                           https://mail.google.com/mail/u/0/?ik=896bd33dfc&view-



                                                                              tit Aar+ if.1
                                                                          William Griffin <william@griffinlossconsultants.com>
                 Griffin Building
                    Consultants



           RK 0796
           4 messages

           William Griffin <william@griffinlossconsultants.com>                                Tue, Aug 9, 2022 at 12:01 PM
           To: Joseph Morrow   <jmorrow@acuity.com>,   MARY   JO O'NEAL <maryjo6400@aol.com>, Gwin Anderson
           <gwin.anderson@gmail.com>

             Mr. Morrow,

             Please see attached from your insured

             Call me if you have any questions.

             I hope all is going well sir.

              Jo) 8092022 Demand.pdf
                  518K


           William Griffin <william@griffinlossconsultants.com>                          Tue, Sep 20, 2022 at 12:57 PM
           To: Joseph Morrow <jmorrow@acuity.com>, MARY JO O'NEAL <maryjo6400@aol.com>, Gwin Anderson
           <gwin.anderson@gmail.corn>

             Mr. Morrow,

             Please advise who you are naming as your appraiser by the end of the day -- we are way past the time to do so and
             the insured is incurring alot of expense to comply with his policy.

                 was told that Mr Craig Betts might be hired by you?)

             Thanks in advance for your professional assistance.

             Sincerely,
               ucted teak hidden]


           Joseph Morrow <jmorrow@acuity.com>
           To: William Griffin <william@griffinlossconsultants.com>




 1 of 2                                                                                                                  2/5/2023, 12:09 AM
(Page 23   of     77)
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                 1880 General George Patton Drive, Suite B-203
                 Franklin, Tennessee 37067
                 Tel: 615-778-0160



                                                         Structural Damage Assessment
                                                                         EFI Global File No.: 038.05231
                                                                                 June 6, 2022


                                                                            William Anderson
                                                                          213 East Nelson Street
                                                                      Dresden, Tennessee 38225


                                                                 Date of Loss: December 10, 2021
                                                                             Claim No.: RK0796

                                                                                    Prepared For:

                                                     Acuity Mutual Insurance Company

                                  CIO: Brewer, Krause, Brooks & Chastain PLLC: Attn: Matthew Rogers
                                                                      2800 South Taylor Drive
                                                                    Sheboygan, Wisconsin 53081




                                                                                              Technical Review By:




                  Anthony Firriolo, P E.
                  District Manager                                                            Michael F. Connor, P.E.
                  TN P.E. #115878                                                             Senior Principal Engineer
                  PE Expires: July 31, 2022


                I hereby certify that this engineering document was prepared by me and that I am a duly licensed Professional Engineer in the state referenced in the signature
                line above. Printed copies of this document are not considered sianed and sealed and the signature must be verified on any electronic copy. Hard copies of this
                report with a wetseal" can be provided upon request. This report Ts furnished as privileged and confidential to addressee Release to any other party Is the
                sole responsibility of addressee. ©2022 EFI Global, Inc.
(Page 24   of    77)
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                 Insured: William Anderson
                 EFI Global File No.: 038.05231



                ASSIGNMENT
                The assignment was received by EFI Global, Inc. (EFI) on May 2, 2022, from Mr. Matthew Rogers with Brewer,
                Krause, Brooks & Chastain PLLC.
                The scope of this assignment was to:
                     •   Determine the extent of damage due to the effects of wind during the tornado event on or about the
                         date of loss.

                In response to this request, Anthony Firriolo, P.E., (EFI) visited the site on May 11, 2022. The insured was not
                present during the site visit but granted EFI permission to access the property. The insured's public adjuster,
                Mr. William Griffin, was not present due to being late.

                 EFI Global, Inc. (EFI) has completed an engineering examination at the subject property located at the above loss
                location. EFI's findings, analysis, and conclusions are included herein. This report contains a discussion of the
                information gathered during the assessment and. an analysis and conclusions with respect to the condition of
                the subject property at the time of EF€'s assessment. The conclusions contained herein are based on
                information available to date.


                METHODOLOGY
                The subject building was inspected for functional and structural damage specifically caused by the tornado that
                occurred on the DOL. Functional damage is damage to the building envelope or related components that would
                affect its function. The function of the building envelope for the purposes of this report is: to shed water, last
                through its expected service life, and resist environmental elements. Functional wind related damage would be
                expected to be in the form of displaced shingles, tears, dents at fasteners, displaced trim and gutters, or other
                storm created openings. Structural damage would be damage that would affect the ability of the structure to
                safely and effectively transfer loads through the structure down to the foundation. This would be expected to
                manifest in the form of displacement, deflections, racking (displacement of the top of an element relative to the
                bottom), or failure of members.

                Wind from tornado events creates lateral forces on structural wall elements. This is in the form of positive
                pressure on the windward walls of a building and negative pressure (suction) on the leeward walls of a building.
                The windward roof experiences either positive or negative pressure depending on the roof pitch. The leeward
                roof experiences negative pressure (suction). In flat roof buildings, the roof typically experiences upward vertical
                pressure. Additionally, the positive or negative pressures at the corners and edges of the walls and roof are
                generally higher than for the remaining wall and roof portions. Positive and negative wind pressures are treated
                as forces or loads on buildings when examined and analyzed for wind effects.

                Tornado winds are rotational winds; therefore, they create rotational forces on a building. These types of winds
                are almost always counterclockwise in direction. As the wind forces push and pull on a building, they can cause
                the building to lean or twist; the leaning and twisting actions can cause separations and gaps to occur at the
                intersection of the wall and ceiling gypsum sheathing, especially in the upper levels of the building. The wind
                forces push and pull on the doors and windows and can possibly loosen them. If the winds penetrate into the
                building through openings in the walls or roof, the wind forces are magnified and can loosen elements, possibly
                separating or completely removing the elements from the building.
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                Insured: William Anderson
                EFI Global File No.: 038.05231


                Smaller wind generated pressure forces on buildings cause losses such as shingle losses and fascia, soffit, and
                siding losses. Larger pressure forces can loosen or cause a loss of structural elements such as roof sheathing and
                framing, wall sheathing and framing, and sub-flooring and floor framing, therefore compromising the structural
                integrity of the building.

                Wind damage generated from straight line or tornado force winds on a building are characterized as follows:

                    •   Top-down damage pattern:
                            o  In an air stream, wind velocities increase with height. Since damage is somewhat proportional to
                               wind velocities, damage to a structure will increase with elevation.

                    •   Outside-in damage pattern;
                           o   Positive, or inward (bearing), and negative, or outward (suction), pressures from wind are at their
                               greatest near the corners of roofs. The next level of wind pressures is along the edges of roofs
                               and walls. The lowest pressures from wind will occur in the field-of-the-roof or -wall, i.e., away
                               from the edges of these surfaces.
                           o   Thus, since damage is somewhat proportional to pressure, most damage will be found at the
                                corners of roofs, then along the edges of roofs and walls. Finally, the least amount of damage
                               from wind will be found in the interior areas of a roof or wall.

                        Pressurization of interior spaces:
                            o   This type of damage is commonly found in attic and garages of buildings. That is, air is able to enter
                                these partially enclosed spaces at a faster rate than air is able to exit these spaces. For attics,
                                blown cellulose insulation often plugs the leeward vent spaces in the roof, thereby allowing the
                                interior space to pressurize. For garages, the vehicular doors are placed on the interior sides of
                                the garage opening. Hence, wind is able to push the garage doors inward from the exterior side
                                of the building, that is, away from the openings. Thus, wind is able to again pressurize this space,
                                which could lead to the eventual removal of the garage walls and roofs.


                        Wind-borne debris:
                           o   When medium to high-velocity winds exist, debris fields are created. From this debris field some
                               of the lighter objects are able to be picked up within the air stream and essentially are
                               transformed into projectiles, based on the hardness of these objects. Thus, impact damage can
                               and does occur on the windward side of buildings. Additionally, the direction of the air stream
                               during a medium to high-wind event can be determined accordingly.


                BACKGROUND

                The following information was gathered during the site visit and through an interview of Mr. Griffin:
                   •    Mr. Griffin reported that the roof was replaced following the tornado, but it was just a temporary
                        replacement as the roof decking was not to code due to the spacing between the deck boards.
                   •    Some of the bathrooms had the drywall removed prior to EFI's site visit. Some of the units had been
                        painted prior to EFI's site visit.
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                Insured: William Anderson
                EFI Global File No.: 038.05231



                BUILDING SYSTEM DESCRIPTION
                The structure is a one-story, multi-family wood-framed structure built on a concrete slab on grade. The exterior
                walls are clad with brick veneer, and the roof is covered with fiberglass-mat asphalt shingles. For this report, the
                building is considered to face east (Photographs 1 through 3).


                SITE OBSERVATIONS
                Observations were limited to visual examinations and measurements of accessible portions of the subject
                property. Removal of finish materials, qualitative testing, excavation, or other work not specifically described
                herein was not conducted.

                Observations were photographed to document distress and relevant conditions at the subject property on the
                date of the site visit. Not all damage or distress that may be present was necessarily observed or photographed;
                however, the selected photographs provide an indication oftheirtypes, severity, and distribution. They may also
                document unusual or contributing conditions that may exist. Photographs captured to document findings and
                observations are attached to this report. During this investigation, the following observations were made:

                EXTERIOR AND ROOF OBSERVATIONS:
                            Several windows were either broken or boarded due to damage sustained during the tornado
                           (Photographs4 and 5).
                               o    Four windows were damaged along the west elevation, six windows along the south elevation,
                                    and seven windows along the south elevation within the U-shape.
                       •   No cracks, gaps, and/or separations were noted in the brick veneer along the various elevations
                           (Photographs 6 through 8).
                               o    Scuff marks and debris were noted at random locations on the brick veneer.
                       •   The walls were measured with a bubble level and found to be approximately plumb over the length of
                           the bubble level (Photographs 9 and 10).
                       •   The front columns were measured with a bubble level and measured out of plumb to varying degrees
                           (Photograph 11).
                       •   No creased, torn, and/or missing shingles characteristic of damage caused by the effects of wind were
                           noted throughout the various roof slopes (Photographs 12 through 16).
                               o   The shindies appeared to be newly installed and were sealed.

                INTERIOR OBSERVATIONS:

                           Unit 1 had been repainted prior to EFI's site visit and the tenant reported that there were cracks in the
                           drywall which had to be removed and replaced (Photographs 17 and 18).
                   •       Unit 2 had been repainted prior to EFI's site visit and it was reported thatthere were cracks in the drywall
                           which was removed and replaced (Photographs 19 and 20).
                           Unit 3 had no cracks in the wall and ceiling finishes, but EFI could not confirm if repairs had been made
                           prior to the site visit (Photographs 21 and 22).
                           EFI did not have access to Unit 4. We have provided photos of these
                           EFI did not have access to Unit S.
                           Unit 6 exhibited hairline width cracks along the crown molding within multiple rooms (Photographs 23
                           through 25).
                               O   The drywall was removed within the bathroom and the floor coverings were removed within the
                                   bedrooms.




                                                                                                                                  .41 Page
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            "   Insured William Anderson
                EFI Global File No.: 038.05231



                      •     The drywall was removed within the bathroom in Unit 7 (Photograph 26).

                ATTIC SPACE OBSERVATIONS:
                      •     The roof decking was tongue-n-groove planks with no gaps between the individual boards (Photographs
                            27 through 29).
                                o   The rafters were spaced at approximately 16-inches on center.
                      •     Separations were noted at random rafters to ridge beam connections (Photographs 30 through 32).
                                o   The exposed nails within the separations exhibited corrosion indicating long-term exposure.


                WEATHER CONDITIONS AT THE TIME OF LOSS
                The following narrative of the tornado from the National Weather Service:
                A severe thunderstorm produced a long-track tornado that caused
                damage from Newbern, TN to Paris Landing, TN and eventually
                crossed the Tennessee River,

                Tornado in         1 Newbern to Paris Landing...

                Rating: EF-3
                Estimated Peak Wind: 160 mph
                Path Length /Statute/: 71.6 miles
                Path Width /Maximum/: 1038 yards
                Fatalities:   0
                Injuries:   5

                Start Date: Dec 10 2021
                Start Time: 1032 PM CST
                Start Location: SW Newbern
                Start Lat/Lon: 36.12 / -89.26

                End       Date: Dec 10 2021
                End       Time: 1148 PM CST
                End       Location: Paris Landing
                End       Lat/Lon: 36.50 / -88.07

                SURVEY SUMMARY:

                The first   observed damage was a few miles southwest of Newbern,
                TN near Washington Street. The tornado moved northeast, uprooting
                and snapping numerous trees along its path. Several homes had
                significant   roof damage. The tornado initially produced EF-1
                damage but while progressing northeast, it continued to strengthen
                as it approached Dresden, TN. Several buildings and homes in
                downtown Dresden suffered significant damage or were completely
                destroyed, The tornado slightly weakened and moved northeast
                toward Paris Landing and eventually crossed the Tennessee River
                into Stewart County it Middle Tennessee,




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                DISCUSSION AND ANALYSIS
                Buildings are an obstacle to the wind currents that are generated during a storm that results in changes in the
                direction of air flow. This redirection of the air flow around and over the surfaces of the building, results in
                varying magnitudes of negative and positive wind pressures over the surfaces of the building. In general, inward-
                acting pressures (positive) are produced on windward surfaces and outward-acting pressures (negative) are
                produced on leeward surfaces. Since the flow of air cannot negotiate sharp discontinuities in the building
                surfaces, such as overhangs, roofcorners, and wall corners, the flow of the air will separate from building
                surfaces resulting in outward-acting pressures (turbulence). Failure or removal of cladding in these areas
                typically will occur first followed by damage to unsupported components or loosely fastened components.
                Damage to the structural frame typically occurs last, and initial indications of frame movement will include
                damage to brittle wall coverings such as cracked masonry and cracked windows/distorted openings.

                Wind speed damage correlations used for wind engineering research indicate the progression of damage for a
                wood frame structure similar to that at the referenced location begins with the threshold of visible damage, loss
                of roof covering and siding, broken glass in doors/windows, lift of the roof deck and loss of significant roof
                covering, collapse of chimney, collapse of garage doors (inward), large sections of roof structure removed (most
                walls standing), collapse of exterior walls, most walls collapsed (except small interior rooms), all walls collapsed,
                and finally complete destruction of the building (swept clean). Substantial damage to exterior cladding and
                damage from debris impact typically will precede other damage to the interior of structure. Damage from wind
                forces is typically not "hidden" or concealed by the structure.

                The following damage to the building was attributed to the tornado event on December 10, 2021:
                   •    The reported and already repaired damage to the shingles was due to the effects of wind.
                   •    The broken windows along the various elevations were cause by debris impact during the tornado event.
                   •    The out of plumb columns were due by the effects of wind.
                   •   The reported damage to the wall and ceiling finishes were consistent with damage caused by buffeting
                       of the building by the wind.
                   •    The hairline width cracks along the crown molding were caused buffeting of the building by the wind.

                The roof decking as noted within the attic space was tongue-n-grooveboards with no gaps between the individual boards .
                The separations noted at random rafter to ridge beam connections were pre-existing to the tornado event as
                evidenced by the corrosion along the exposed nails.


                RECOMMENDATIONS AND CONCLUSIONS
             The following repair recommendations are conceptual in nature and are provided with a reasonable degree
           ' of professional certainty:

                    1.   The damaged shingles had beer removed and replaced prior to EFI's site visit.
                    2.   The broken windows should be removed and replaced using like-kind materials.
                    3.   The out of plumb columns should be !-epiurnbed as necessary and reattached to the concrete sled.
                    4.   The reported damage to the wall and ceiling finishes had been removed and replaced or repaired prior
                       to EFI's site visit.
                    5. The hairline width cracks along the crown molding should be caulked and repainted using like-kind
                       materials.       DOANE VOL_ HAVE      MATCH
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                 Insured: William Anderson
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                     6. The roof decking as noted within the attic space was tongue-n-groove boards with no gaps between the
                        individual boards.
                     7. The separations noted at random rafter to ridge beam connections were pre-existing to the tornado
                        event as evidenced by the corrosion along the exposed nails.


                APPENDICES            GET COPIES OF PHOTOS REFERENCED HERE
                Representative photographs are included with this report. Additional photographs captured at the time of
                the inspection are available upon request.
                    •    Appendix A - Photographs



                LIMITATIONS
                The information presented in this report addresses the limited objectives related to the evaluation of this
                assignment. The opinions presented in this report have been made to a reasonable degree of scientific and
                engineering certainty based upon the information available at the time this report was authored. This report only
                describes the conditions present at the time of EFI's examination and is only based upon the observations
                made. This analysis was limited to the scope of work outlined in this report. This report is not intended to fully
                delineate or document every defect or deficiency throughout the subject property.
                The opinions contained within this report are limited to the circumstances associated with this assignment, and
                are based on this author's education, experience, and training. Should additional information which relates to
                this evaluation become known, EFI reserves the right to alter the opinions contained in this report as necessary.
                in some cases, additional studies may be warranted to fully evaluate conditions noted.
                This report is furnished as privileged and confidential to the addressee. Release to any other company, concern,
                or individual is solely the responsibility of the addressee. Any verbal statements made before, during, or after
                the course of the assignment were made as a courtesy only and are not considered a part of this report.


                CLOSING
                EFI appreciates this opportunity to provide consulting services related to this matter. Please contact us should
                any questions arise concerning this report, or if we may be of further assistance.


                ENGINEER STAMP
                This report has been transmitted electronically. If requested, a hard copy of the report with a Nwet-stamp"
                can be provided. The signature and stamp image on the front are for demonstrative purposes. This report has
                been electronically signed and sealed by this author on the referenced date. Printed copies of this document
                are not considered signed and sealed and the signature must be verified on any electronic copy.

                It is a violation of law for any person to alter this document in any way, unless acting under the direction of a
                licensed professional engineer. If a document bearing the seal of an engineer is altered, the altering engineer
                shall affix to the document their seal and the notation "altered by" followed by their signature and the date of
                such alteration, and a specific description of the alteration.




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                                                                                                                        efi global
                      Photographs




                      Photo No. 5:     View of the boarded windows along the south elevation.




                      Photo No. 6:    View of the tack of cracks in the brick veneer.




                      Insured: William Anderson                                         Site Visit Date: May 11, 2022
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                                                                                                              efi           global
                      Photographs




                      Photo No. 7:    View of the lack of cracks in the brick veneer.




                      Photo No. 8:   View of the scuff marks or debris on the brick veneer.




                      Insured: William Anderson                                          Site Visit Date: May 11, 2022
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                                                                                                                              global
                      Photographs




                      Photo No. 9:     View of the approximately plumb measurement cf the exterior wall.




                      Photo No.10: View of the approximately plumb measurement of the exterior wall.




                      Insured: William Anderson                                         Site Visit Date: May 1.1, 2022
                      EFI Global File #: 038.05231.
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                                                                                                                         global
                      Photographs




                      Photo No. 27: Vf7.e-- vi of the iungue-n-groove deck boards.




                      Photo No. 28: View of the tongue-n-groove deck boards.



                      Insured: William Anderson                                      Site Visit Date: May JJ, 2022
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                      Photographs




                      Photo No. 29: View of the lonaue-n-aroove deck boards.




                      Photo No. 30: View of the separation along the ridge beam and rafter connection in which the exposed nail
                      exhibited corrosion.



                      Insured: William Anderson                                         Site Visit Date: Moy 11, 2022
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                                                                                                               fi
                      Photographs




                      Photo No. 25: View of the bathroom with the drywall removed within Unit 6.




                      Photo No. 26: View of the bathroom with the drywall removed within Unit 7.



                      Insured: William Anderson                                       Site Visit Date: May 11, ZOZZ
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                                                                                                                            efi global
                      Photographs




                      Photo No. 15:   View of a torn shingle.




                      Photo No. 16:   View of scuff mark on the newly installed shingles.



                      Insured: William Anderson                                             Site Visit Date: May 111 2022
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                                                                                                                   efi                global
                      Photographs




                      Photo No. 13: View of the general condition of the recently installed shingles along the various roof slopes.




                      Photo No. 14: View of the general condition of the recently installed shingles along the various roof slopes.


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                                          Griffin Building Consultants

                                                  68 Photos




                                      DAMAGE PHOTOS




      Cover Page                                       36                   Anderson Apart; - ery:...a ..1pdateci .
(Page 39   of     77)
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      Updated report                                                                                2i5/2G2




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                                                                   DECKING IS ALL
                                                                   OVER THIS
                                                                   BUILDING



                                                    Project: Anderson Apartments
                                                    Date: 11/22/2022, 1:27am
                                                     Creator: William Griffin




                                                         -oject:   Anderson Apartments
                                                    Date: 11/22/2022, 3:02am
                                                     Creator: William Griffin




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(Page 40   of     77)
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      Updated report                                                                            z/5/20!




                                                            DAMAGE




                                        veneer
                          1)1'10 Ment of the
                          Yid   r$ during storm.

                                                       Project: Anderson Apartments
                                                      Date: 12/16/2022, 3:36pm
                                                       Creator William Griffin



                                  r•iii;;Jz;r1.::




                                                            BRICK DAMAGE


                     Wind driven debris
                   damige to brick veneer




                                                       Project: Anderson Apartments
                                                       Date: 12/16/2022, 3:39pm
                                                       Creator William Griffin




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      Section 1
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                 21




                                                      Project: Anderson Apartments
                                                      Date: 11129/2022, 3:24-pm
                                                      Creator: Greg Heath




               22




                                                      Prgaci; Anderson Apartments
                                                      Date: 11/29/2022, 3:24pm
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      Updated report                                                                                   2/5/2023




           7




                                                         Project: Anderson Apartments
                                                         Date: 1/12/2022, 2:17pm
                                                         Creator: William Griffin




           8




                                                         Project: Anderson Apartments
                                                         Date: 1/12/2022, 2:17pm
                                                         Creator: William Griffin




      Section 1                                      6 i 36                                A, 'demo:
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      Updated report                                                                               2/5/2023




           19




                                                          Project: Anderson Apartments
                                                          Date: 11/29/2022, 3:11pm
                                                          Creator: Greg Heath




           20




                                                          Project: Anderson Apartments
                                                          Date: 11/29/2022, 3:21pm
                                                          Creator: Greg Heath




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      Updated report                                                                                     2/5/2023




           23




                                                                structural damage ignored




                                                         Project: Anderson Apartments
                                                         Date: 11/29/2022, 3:26pm
                                                         Creator: Greg Heath




           24




                                                         Prc4ect: Anderson Apartments
                                                         r1ate: 11/29/2022, 3:26pm
                                                         Creator: Greg Heath




      Section 1                                       14 36                                Ai ,,lersof    •
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           35




                                                             BRICK DAMAGE

                        Brick veneer damage
                        consistent with wind
                            &Nen debris




                                                        Project: Anderson Apartments
                                                        Date: 12/16/2022, 3:35pm
                                                        Creator: William Griffin




           36




                                                             RAFTER
                                                             MOVEMENT




                                                        Pro}act: Anderson Apartments
                                                        ./ate: 12/16/2022, 3:35pm
                                                         rector William Griffin




      Section 1                                      20 36                                n< e CSC
(Page 46    of    77)
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                                                                                                2;5/2023
     Updated report




                                                            BRICK DAMAGE




                                                         Project: Anderson Apartments
                                                         Date: 12/16/2022, 3:39pm
                                                         Creator: William Griffin




           40




                                                          P7oject: Anderson Apartments
                                                          bate: 12/16/2022, 3:42pm
                                                          Creator: William Griffin




      Section.                                        ?.2.136
(Page 47    of      77)
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           49




                                                                     STRUCTURAL
                                                                     DAMAGE
                                  SIgte of' Ztructate
                                     movement




                                                            Project: Anderson Apartments
                                                            Date: 12/16/2022, 3:58pm
                                                            Creator: William Griffin




                                                                  BRICK DAMAGE




                                                            Projec   Anderson Apartments
                                                             >ate: 12/16/2022, 3:58pm
                                                            Creator: William Griffin




      Section 1                                         27 r 36                               Andersor
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                                                      Project: Anderson Apartments
                                                      Date: 12/16/2022, 4:15pm
                                                      Creator William Griffin




                                                                MAJOR DAMAGE




                                                      Project: Anderson Apartments
                                                        ati   12/16/2022, 4:23pm
                                                      Creator: William Griffin




      Section 1                                   36 i 36                               A dersor, Apart :,Gilt.
(Page 49   of    77)
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      Updated report                                                                            2/5/2023
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                                                          DAMAGE




                                                     Project: Anderson Apartments
                                                     Date: 12/16/2022, 4:10pm
                                                     Creator: William Griffin




                                                     Project: Anderson Apartments
                                                     Date: 12/16/2022, 4:11pm
                                                     Creator: William Griffin




      Section                                        36                                 Anderson Ap. it ;exit.
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      Updated report                                                                               2/5/2023




                                                                 BRICK DAMAGE



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                            xcesiss     with struct
                                        t. from star




                                                          Project: Anderson Apartments
                                                          Date: 12/16/2022, 4:07pm
                                                          Creator: William Griffin




                                                                     BRICK DAMAGE



                wi4lowibrick movement
                     during storm




                                                          Project: Anderson Apartments
                                                          Date: 12/16/2022, 4:07pm
                                                          Creator: William Griffin




      Section 1                                        30 36                                Angers .
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                                                                                                     2/5/2023
      Updated report




           63




                             Damaged soffit requiring
                                 replacement




                                                          Project: Anderson Apartments
                                                          Date: 12/16/2022, 4:11pm
                                                          Creator: William Griffin




                                                                BRICK DAMAGE


                              leer adhesion
                              'nsistan




                                                           Project: Anderson Apartments
                                                           Date: 12/16/2022, 4:11pm
                                                           Creator: William Griffin




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(Page 52    of    77)
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                                                         Project: Anderson Apartments
                                                         Date: 12/16/2022, 4:12pm
                                                          Creator: William Griffin




           66




                                                                 MAJOR DAMAGE




                                                           roject: Anderson Apartments
                                                         i)ete: 12/16/2022, 4:15pm
                                                         Creator: William Griffin




     Section 1                                       3E: :36
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                                                            DAMAGE

                              Close up of eave
                             structural damage




                                                     Project: Anderson Apartments
                                                     Date: 12/16/2022, 4:08pm
                                                     Creator: William Griffin




                                                           DAMAGE

           . Water damage to soffit':
             " displacement of th
               soffit panel showin
                signs of structura
                    movement



                                                     Project: Anderson Apartments
                                                     Date: 12/16/2022, 4:09pm
                                                     Creator: William Griffin




      Section 1                                   31 36                                A r viers,
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     Upciated repair




                                                          Project: Anderson Apartments
                                                          Date: 12/16/2022, 3:59pm
                                                          Creator: William Griffin




           52




                                                          Project: Anderson Apartments
                                                          Date. 12/16/2022, 4:01pm
                                                          Creator: William Griffin




      Section i                                       28 i 36
(Page 55   of   77)
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      Updated report                                                                           2/5/202




           25




                                                           structural not in report




                                                    Project: Anderson Apartments
                                                    Date: 11/29/2022, 3:27pm
                                                    Creator: Greg Heath




           26




                                                         UNSAFE TO
                                                         RE INSTALL




                                                    ?roject: Anderson Apartments
                                                    Date: 11/29/2022, 3:27pm
                                                    Creai.or: Greg Heath




      Section                                       36                                 :"•,oersor Ap
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           1




                                                       Project: Anderson Apartments
                                                       Date: 1/12/2022, 2:09pm
                                                       Creator: William Griffin




           2




                                                       Project: Anderson Apartments
                                                       Date: 1/12/2022, 2:09pm
                                                       Creator William Griffin




      Section 1                                        36                                Anders:, 3 s
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            Case 1:23-cv-01046-JDB-jay Document 1-1 Filed 03/27/23 Page 57 of 77     PageID 65
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                                                             ENTIRE BLDG SHIFTED►




                                                      Project: Anderson Apartments
                                                      Date: 12/13/2022,11:28am
                                                      Creator: Russ Perkins




                                                             PROOF OF SHIFT




                                                       Project Anderson Apartments
                                                       Date: 12/13/2022,11:28am
                                                       Creator: Russ Perkins




      Section                                     "L7 ! 36                              r=adersoi .
(Page 58   of    77)
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                                uny
                             IN s on ANcii:.
                                                                                                                          SWORN STATEMENT
                                                                                                                           IN PROOF OF LOSS


           Insured: William J, Anderson
           Claim Number: RK0796
           Policy Number:

           The intomiation immediately above is provided for your convenience. If it is Incorrect, please correct it.

           READ: The completion of A SWORN STATEMENT IN PROOF OF LOSS is required by your insurance policy_ Failure to submit
           this document may result in the denial of your claim. The information which you provide, including the additional documentation
           material, will be used by us in processing your claim. If additional documentation of your claim is requested by us, or deemed
           necessary by you, such documentation or material is considered to be part of this SWORN STATEMENT IN PROOF OF LOSS.

           COMPLETE THESE QUESTIONS: Basic instructions are attached to this form.
            1.Loss or damage occurred on: Month: December ° al': loth                               Year:    2021     Time: 10:15      CI         p_rn.
            2. What caused the loss or damage? —                                   If ARE caused the loss, what caused the fire?
                         Tornado
            3_ At the time of the loss, who occupied the building(s)?              At the time of the loss, what were the building(s) used for?
                                Tenants                                                              Apartments
            4. What is your interest in the property claimed?
               (a) Building(s)?                     Owners
                 (b) Contents/Personal property?       Owners

            5, toes any other person(s), company or organization have an ownership interest in the:
               (a) Building(s)? No         If Yes, explain:

                 (b) Contents or Personal Property? No          If Yes, explain:

                                    .            _
            6. Is there a mortgage or other encumbrance on any property claimed?
               If yes, who holds that mortgage or encumbrance and what was its approximate dollar amount on the date of the loss?
                                                           No
           7. Does any other insurance apply to this loss?       No if Yes, explain:
                IF Yes, hes pr will a claim be made under Lhat, insurance?

           8_ Before the loss was there any change in your interest, use or occupancy of the:
              (a) Building(s)? No     If Yes, explain:
              (b) Contents or Personal Property? No If Yes, explain:



           THE AMOUNT of Lpss CLAIMED:
                                                                                                                          Additional Coverages
           Building(s)           Contents/Personal Property                         OW of Use/Business Income             Other - Explain
           $ $307,064.69                                                            $ 32145.00                            5     32, 500.00
            The actual cash value of the damaged property immediately before the loss was:                                Mitigation Costs
           Building(s)                         Contents/Personal Property           Loss of Use/Business Income           Other - Explain
            $     296.888.12                   S                                    S     22,500.00                       s 21,648.53

                                                   fic41(.4,                            Aildr                                 Extra Expense

                                                                                                                              $ 65,210.00

                                                             2800 South Taytur Drive • Sheboygan, WI 53081
                                                                              920.458.9131

           K-3818-15)                                              Acuity, A Mutual Insurance Company
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                            acuity
                                INSURANCE
                                                                                                                          SWORN STATEMENT
                                                                                                                           IN PROOF OF LOSS
                                                                                                                              (Second Submission)
               READ CAREFULLY:

               I SWEAR THAT:

                           (1)NEITHER I NCR ANY OTHER PERSON ON MY BEHALF, AT MY DIRECTION, OR WITH MY KNOWLEDGE HAS
                              INTENTIONALLY CAUSED THIS LOSS.

                           (2) 1 HAVE NOT MADE CLAIM FOR ANY PROPERTY NOT DAMAGED BY THIS LOSS.

                           (3) I HAVE NOT ATTEMPTED TO NOR HAVE I DECEIVED OR DEFRAUDED ACUITY, A MUTUAL INSURANCE
                               COMPANY.


              I swear, under penalty of perjury, that I have read and completed the above sworn statement in Proof of Loss, including any
              attachments, and that the infoimation given by me is true and correct.

              CAUTION: FURNISHING FALSE INFORMATION MAY RESULT IN DENIAL OF YOUR CLAIM.

                                                                           *1N‘I'
                                                                             /4   Ok- TI4/P,P,
                                                                     ef:     47    STATE           rr
                                                                                    OF    • Sgnature of Insured
                                   rn to before me thi                          TENNESSEE
                                                                                  NOTARY       •
                                                                            *     PUBLIC
                                                                                                               Gi (12-
                                                                           .14';',,s:6;v*C63
                        tc, State                                                                  Signature of Insured
               My Commission expires:
                                        011/6/3-Ckg°71"



                           Any person who knowingly and with intent to defraud any insurance company or other person files an
                           application for insurance or statement of claim containing any materially false information or conceals
                            for the purpose of misleading, information concerning any fact material thereto commits a fraudulent
                                   insurance act; which is a crime and subjects such person to criminal and civilpenalties.




           STATEMENTS OF INSURED: The insured(s) reserve(s) all right(s) he/she/it/they may have under the
           insurance policy, including, but not limited to, supplementing the claim/or filing additional Proofs of Loss,
           should cause arise. This Proof of Loss does not address hidden damages and does not include any unknown
           damages or complications or additional costs that may be associated with any repair/replacement of the
           damages to the insured(s) property. If this Proof of Loss does not comply with the policy conditions, you are
           hereby instructed to inform the insured(s) within 15 days from the date of the Proof of Loss or any deficiencies
           will be considered waived. The said loss did not originate by any act, design or procurement on the part of
           your insured, or this affiant; nothing has done by or with the privity or consent of your insured or this affiant, to
           violate the conditions of the policy, or render it void; no articles are mentioned herein or in annexed schedules
           but such as were destroyed or damaged at the time of said loss; no property saved has in any manner been
           concealed, and no attempt to deceive the said company, as to the extent of said loss, has in any manner been
           made. Any other information that may be required will be furnished and considered a part of this proof. The
           furnishing or the preparation of proofs by the above insured is not a waiver of any of its rights.



              K-36(8-19)                                         Acuity, A Mutual Insurance Company                                          Page 2 of 3
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                                                              Ben Perry, MBA
                                                        Coastal Claims Services, Inc.
                                             2650 N. Dixie Freeway, New Smyrna Beach, FL 32168
                        Office (386) 314-0074 Cell (229) 560-2713 Fax (386) 961-4344 Email benp@coastalclaims.net


                  Current Role
                  Owner / Director of Appraisal Division
                  Coastal Claims Services, Inc

                  Previous Relevant Experience
                  Real Estate Agent
                  Florida Homes Realty & Mortgage
                  Commercial Real Estate Development Analyst
                  Ambling University Development Group
                  Construction Quality Control Manager - Commercial Projects
                  Ambling Construction Company
                  Guess & Lovell Surveying and Mapping / Lovell Engineering Associates
                  Land Surveyor

                  Active Licenses
                  FL Public Adjuster: W204249
                  FL Home Inspector: HI12763
                  IA Public Adjuster: 17333367
                  IN Public Adjuster: 3681782
                  SC Public Adjuster: 17333367
                  WI Public Adjuster: 17333367

                  Active Certifications / Designations
                  InterNACHI Certified Professional Inspector
                  InterNACHI - Owens Coming - Lowes Roof Technician
                  Claims Adjuster Certified Professional
                  Xactware Xactimate Certified Level 2

                  Active Memberships
                  InterNACHI - International Association of Home Inspectors
                  AIA - American Institute of Architects
                  ICC - International Code Council
                  WIND - Windstorm Insurance Network
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                                                          Andrew J. Fraraccio
                                              570 New Waverly Place, Suite 220, Cary, NC 27518
                                    Tel: 919.345.0548 / Fax: 866.369.1755 / email: andyf@intrustclaims.com



                          Property Loss Consulting / Appraiser / Umpire / Loss of Business Income
       Profile:                Mr. Fraraccio carries 28 years of experience as independent insurance appraiser, umpire, adjuster, and
                               property loss/business interruption consultant. Mr. Fraraccio also provides a diverse range of construction-
                               related services with expertise in restoration and reconstruction of existing custom-built real property, and
                               personal property. Mr. Fraraccio has served as an expert appraiser and umpire in hundreds of loss
                               disputes nationally on behalf of individuals, insurers, and business-owners. He is responsible for
                               Calculating Loss of Business Income, Project Management, Cost-Estimating, Scope Development,
                               Damage Evaluations, Building Code-Compliance, Appraisal-Umpire Appointment, and Litigation
                               Expertise. Among numerous selected achievements, Mr. Fraraccio served as umpire and appraiser for
                               hundreds of large losses nationally, for commercial and residential structures, and contents. In addition,
                               he settled several thousand business interruption losses and disputes throughout the United States,
                               spanning 3 decades.

                                                            Additional Selected Achievements
                               Mr. Fraraccio developed and presented lectures and educational seminars to insurance carriers, law firms,
                               and associations regarding property loss dispute resolution, appraisal, and arbitration. These educational
                               seminars involve extensive research including state statutes and case laws, nationally. He is a nationally-
                               recognized expert in litigated insurance claim disputes. He was also retained as an expert to settle scores
                               of flood litigation claims for the NFIP and Write-Your-Own (WYO) insurance carriers.

                               Mr. Fraraccio has set industry standards in estimating software through research and Development of
                               Digital Documentation Systems; also known as MS/B estimating system. He also set industry standards in
                               the formatting and language used in captioned reports throughout the industry. He founded and principally
                               operates Intrust Claim Servicing, Inc., a nationally-recognized dispute resolution and loss consulting firm.

      Education:               Electronics Technology Degree: (3.84/4.0 G.P.A.): United Electronics Institute, Tampa, FL (1986)
                               University of South Florida: Business Management Courses (1986-1990)
                               St. Petersburg Jr. College: Business Management Courses (1991-1992)
                               Manatee Jr. College: Business Management Courses, Technical-Writing, Physics 1-3, CAD and
                               other engineering-related courses (1982.1983, 1988-1990)
                               Mr. Fraraccio's education and career experience also include Insurance Law, Electronic
                               Engineering, and Research and Development.

      Licenses/Certifications: Umpire Certification — FL WIND Network
                               Appraiser Certification — FL WIND Network
                               Independent Adjuster License, State of North Carolina (License #NPN 1290237)
                               Independent Adjuster License, State of Florida
                               Independent Adjuster License, State of Texas
                               Independent Adjuster License, State of Alabama
                               Independent Adjuster License, State of Georgia
                               Independent Adjuster License, State of Louisana
                               Independent Adjuster License, State of Mississippi
                               IICRC WRT Certification / IICRC Fire and Smoke Restoration Certification
                               State Farm Flood Certification
                               Former Member of National Association of Independent Insurance Adjusters (NAIIA)
                               FEMA (DHS) Contractor Certification (Badge Number 7608306526)
                               National Flood Insurance Program (NFIP) Large Commercial Certification (FCN 06010133)
        Experience:           3/2001 to Present: Intrust Claim Servicing, Inc. (ICS, Inc.)
                              CEO/Umpire/Appraiser
                              Responsible for handling everyday operations and management of this national loss consulting, independent
                              appraisal and umpire services firm. These responsibilities include consulting and settling multi-million dollar
                              large loss disputes, hiring appraisers and umpires, training of management, field adjusters, case managers,
                              software implementation and website management. Estimation for commercial and residential property
                              damages resultant from these perils: water, fire/smoke, wind, mold, flood, vandalism, collapse, earth quake,
                              and construction defects.
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                             10/2011 - Present: Advanced Adjusting, LTD.
                             General Adjuster/Consultant
                             Handled hundreds of large-loss flood claims for the NFIP and WYO carriers. Also, led the litigation team,
                             handling and managing dozens of flood claims in litigation. Provided detailed protocols for, and settled many
                             complex large losses for the company. Produced detailed scopes, exhibited estimating skills, produced
                             presentations in negotiations with Attorneys and Public Adjusters for successful loss settlements.


                              1/2007 to 12/2019: Insurance Claims Group, Inc.
                              Consultant: Appraiser/Umpire
                               Provided detailed protocols for settling many large losses for the company. Also settled
                               many large losses in the capacity of appraiser. Detailed scope, estimating skills, presentation and
                               negotiation to appraisers and appraisal-umpires in successful loss settlements. Provided these
                               services to insurance carriers, individuals, and business-owners.


                               5/2010 — 3/2011: Worley Catastrophe
                              Consultant: Large Loss/Business Interruption
                              BP Oil Spill: Advised and handled tens of thousands of large loss commercial Business
                              Interruption claims throughout the Gulf of Mexico states (Texas, Louisiana, Mississippi,
                              Alabama and Florida). Also supervised claims examiners and managed as liaison for
                              several Florida panhandle offices.


                             5/1993 to 3/2001: Self-employed Independent Insurance Adjuster
                             During this 9 year period, Mr. Fraraccio worked as a daily claims adjuster and a catastrophe adjuster
                             with an impeccable record for the following companies:

                              Claim Adjustment Specialists, Inc., Global Claim Services, Inc., Catastrophe Specialists,
                              Inc., B & H Claims Service, IMS Catastrophe Adjusters, Pilot Catastrophe Services,
                              Inc., National Catastrophe Adjusters, Inc. (NCA), T.M. Mayfield & Co., Catastrophe
                              Insurance Adjusters, Reid, Jones, McRorie & Williams, United Gates and Pylant, N&C
                              Claims, Inc., Equity Claims, Inc., Resource Services, Inc., Worley Catastrophe
                              Response, Insurance Claims Group, Inc.

                              Mr. Fraraccio's professional experience with the above-listed companies covers claims concerning
                              liability, appraisal losses, flood, hurricane, wind/hail, earthquake, freeze, and all other perils
                              common throughout the continental United States.


       Estimating Software: Xactimate / National Cost Estimator / Marshall & Swift / Simsol / Blue Book International


       Benevolence:           Mr. Fraraccio consistently volunteers his time and donates financial resources both
                              locally and globally through various missions, helping the less fortunate improve their
                              quality of life.
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                      The David Group                                                                   Zatchanry Mi. Baker
                      Consumer Cowtruction & Claims Con=haw
                                                                                                               Claims@TDGroup.us
                                                                                                              Mobile (815)988-3337




                                                              Curriculum Vitae


                        My involvement in family owned, small businesses began at a young age. I began working in the
                building trades at the age of fifteen. I became involved in large scale, historic renovations at the age of
                twenty as a "working" jobsite foreman. From age twenty through twenty-five, I became proficient at
                physically performing all of the building trades. This eventually led to a partnership in a fledgling real
                estate development firm. I became involved with the insurance industry seemingly by accident. I was
                assisting a storm restoration company on an insurance adjustment where in which Donan Engineering
                was involved. Soon after I spent the following two years performing ladder assists/consulting for Donan
                Engineering (while simultaneously acting as a Field Supervisor for a storm restoration company). This
                began what has become my entire career focus. While I still am engaged in real estate investments, my
                primary focus over the last (12) years has overwhelmingly been in the insurance industry. I have been
                fortunate enough to study under some of this industry's brightest minds (on both sides of the proverbial
                fence). The experience I have gained from working under RRCs, RROs, PEs, Attorneys and private
                business owners is what has allowed me to become proficient at settling large losses. There is still much
                that I have to learn, but I have been involved in hundreds of large commercial projects.



                I am licensed as a Public Adjuster, but I do not utilize my licensing in the majority of cases I am involved
                in. I consider myself to be an extremely fair and reasonable individual. Most of my professional peers
                (on both sides) would tell you that I am both respectful and fair. Since 2013, the overwhelming majority
                of the claims I have adjusted, were settled without the aid of the Courts. I try my best to always
                maintain an unmatched work ethic, a tremendous sense of fair play, and am always willing to widen my
                professional knowledge from those who are more experienced. Above all else, I believe that if opposing
                parties meet on the common ground of good faith, any disagreement can be reconciled.



                Currently, approximately 50% of my workload is processed via Appraisal. I find the "Alternative Dispute
                Resolution" process to be a more proficient way to handle losses because both interested parties are
                removed from the process. Additionally, I appear on the "Umpire List" of a number Independent
                Adjusters. I thoroughly support every position in each Appraisal and Adjustment. Even as someone who
                has spent most of my career representing the consumer, I believe that unnecessarily high
                estimates/awards lead to damaging the entire system (thus the consumer will inevitably suffer those
                consequences).
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                Education

                2002-2003      Lincoln College

                2003-2004      College of Dupage



                Professional Experience

                1998-2000      RJB Design

                               -General laborer

                2000-2005      Gaynors Inc/Mr. Scotts LLC

                               -Assistant Management/Jack of all trades for different family businesses. Work
                               responsibilities consisted of labor, restaurant/bar management, customer relations,
                               small scale renovations of rental properties.

                2005-2007      JMZ/JFMB Properties

                               -Job site floater on all active builds. Regularly performed roofing, carpentry, electrical,
                               plumbing and demolition work.

                               -Rental Property Site Technician. I serviced more than 200 rental units in historic
                               buildings that had not yet been renovated.

                2007-2014      Urban Equity Properties

                               -Partner/Site Foreman. We focused on large scale, complete renovations of historic
                               preservation properties, while also converting them to modern mixed-use
                               developments. UEP is still a commanding presence in the Real Estate development
                               markets of the Midwest.

                2009-2011      Rockton City Council

                               -Councilman for the City of Rockton, IL

                2010-2012      Donan Engineering

                               -Sub-contracted Consultant/Ladder Assist under Chris Hayes SE of Donan Engineering

                2010-2013      Hytek Exteriors/GC

                               -Field Supervisor. Eventually became the Sales Manager and was the top grossing
                               commercial salesman companywide from 2011-2013.

                2013-Current   Spartan Public Adjustments LLC

                               -Owner/Primary Adjuster. Spartan PA is a Public Adjusting firm with a focus on the
                               complex (and often large) insurance claims that other firms would release (or that
                               would otherwise result in a lengthy legal battle). www.SpartanPA.com
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                2014-Current     The Heracles Group LLC

                                 -Owner. The Heracles Group is a Real Estate development and management company
                                 with a focus on affordable, historic housing, with tenant service that is unmatched.

                2017-Current     The David Group LLC

                                 -Claims Consultant. The David Group focuses primarily on claims consulting and all
                                 forms of alternative dispute resolution within the insurance restoration industry. We
                                 also offer our clients training in ethics, sales and logistical services within the industry.
                                 www.TDGroup.us




                                                  Additional Points of Recognition
                -I am a P.L.A.N. Certified Appraiser and Umpire

                - I have been involved in hundreds of commercial projects to date.

                - I have been involved in projects/claims with a total cost in excess of 12M.

                - I take a "hands on" approach to every file. I conduct my own destructive testing and produce detailed
                property analysis reports (and estimates) for many of my customers.

                - I have upset people at times with my practical approach to public adjusting. There have been several
                occasions where I have talked commercial clients out of filing insurance claims when they clearly have
                been misguided by an outside influence. I believe that this industry has been become needlessly
                adversarial (on both sides). Unfortunately, it is the consumer who often suffers as a result.

                - I have completed both the level 1 and level 2 Xactimate training. I am proficient at writing both
                residential and commercial property adjustment/Appraisal estimates.

                - I have been a part of as many as (60) Appraisals in a calendar year.

                - I have been certified in Lead removal in the State of Illinois

                - I have been certified in Asbestos removal in the State of Illinois

                - I have been licensed to practice as a Public Adjuster in (12) states.

                - I have been licensed (and am proficient) in nearly all of the building trades.

                - I have completed to date (3) Certified Commercial Roofing Manufacturer Courses.

                -I have worked directly with (3) different State Historic Preservation boards on large projects.

                - Spartan Public Adjustments LLC/ Zachary M Baker to date has had zero disciplinary action taken
                against it from any of the Department of Insurances/Attorney General Offices in any of the states where
                we have been licensed.

                - I am technologically "savvy". I can efficiently utilize all Windows related programs. I have also built
                several desktop computers.
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                                                        Professional References


                -Attorney Raymond J Melton has been successfully representing clients in and out of the courtroom for more than
                20 years; he has tried more than 60 cases to jury verdict. Ray handles matters involving civil litigation including real
                estate, corporate litigation, real estate transactions and defends insurance carriers in. He regularly handles large,
                complex, multi-million-dollar transactions on behalf of his clients. Attorney Melton can attest to my ability, moral
                compass, and depth of industry related knowledge. We have work opposite of each other and now regularly work
                together on large loss cases. Attorney Melton is a Partner at the Chicago based Law Firm of Smith Amundsen.
                Point of Contact: Mr. Ray Melton (Partner) (312) 350-8740

                -Urban Equity Properties is a large real estate development firm that Spartan PA has done work for a
                number of times over the years. We have successfully negotiated several, millions of dollars' worth of
                claims for them.
                Point of Contact: Mr. Justin Fern (Founding Principal) (815)505-5178


                -Pivotal Recruiting is one of the largest recruiting service providers for the storm restoration industry. We have
                worked closely with some of the same clients for years. The owner has referred me to several clients of his and has
                witnessed the proficiency of my work at both firms.
                Point of Contact: Matthew Snow (Owner) (773) 991-9975

                -Hytek General Contracting is a commercial and residential roofing firm with offices in Chicago, Detroit, and
                Rockford, IL. We have successfully negotiated Insurance settlements for their customers (and their affiliated
                companies) consistently for the last few years. They continue to be a valued customer of ours.
                Point of Contact: Mr. Joshua Wilson (630)776-3945


                -RAC Adjustments, Inc. provides a comprehensive range of services including commercial and residential property
                adjusting, workers' compensation, vehicle appraising, catastrophe adjusting, special investigations, telephone
                adjusting, and third-party administration. I have been on the opposing end of adjustments opposite of their owner
                on several claims. He will attest to my character and ability as a Public Adjuster.
                Point of Contact: Mr. Darrell S. Roum (Owner) (815)967-3201

                -TNT Property Group is a large real estate development and management firm. Over the course of (5)
                years, we successfully obtained funding for complete replacements on every property they both owned
                and managed. Many of their developments are large multifamily properties (200+ unit properties) and
                large-scale commercial properties. As a result of our long standing, successful relationship, Mr. Tarandy
                had our firm do extensive work for his extended professional network.
                Point of Contact: Mr. Mike Tarandy (Majority Owner) (773)671-3758

                -McDermaid Roofing & Insulating Co.is the oldest commercial/union roofer in the City of Rockford, IL (and one of
                the largest in the State of Illinois). I have helped several of their large clients with clams related issues and have
                had a relationship with the company for more than (10) years.
                Point of Contact: Paul Naretta (Owner) (815) 222-0074
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                -Kaney Aerospace is both an aerospace corporation/contractor and a property holdings firm that is still
                currently a customer of ours. They have several Industrial and Commercial properties (many of them in
                high security settings as a result of the airport and their dealings as an aerospace manufacturer). I have
                secured to date over (2) million in Insurance settlements for them (and have additional
                settlements of potentially 1.2M pending as a result of storms that occurred in 2020).
                Point of Contact: Mr. Greg Steele (Property Agent/Manager) (815)978-5369



                -Windsor West Townhomes is a large condominium/townhome development of more than (90) 3-4
                bedroom townhomes. They initially received compensation of approximately $22k from their Insurance
                Carrier after a large storm. We were retained and secured an (approximate) additional $950k for them.
                Point of Contact: Mr. Jon Pantano (Former President) (63D)639-6592

                -Meiborg Brothers Inc is a trucking and logistics firm headquartered in the Midwest. They are a
                current customer of ours, and I have successfully negotiated large property loss settlements for them
                several times in the past as well.
                Point of Contact: Mr. Zach Meiborg (President/CEO) (779)210-3867

                -TNG Contractors INC is a Commercial and Industrial builder headquartered in Nashville, TN. They have
                built many of the new hotels and gas stations in the Middle Tennessee area. We continue to work with
                them and all of their affiliated companies (and customers) on a regular basis. We have also negotiated
                large property settlements on Commercial properties owned by the Principal.
                Point of Contact: Mr. Akbar Arab (Owner) (615)394-4196

                -Summit Exteriors is a residential/commercial roofing company based in Illinois. Their owner is a former
                Independent Adjuster and Xactimate educator. I have resolved several large loss files with him over the past (10)
                years.
                Point of Contact: Joshua Jacobson (Owner) (815) 847-8850



                *Further references are available upon request. Some of our other large clients are listed below:
                VishioForry PLLC, Safe Harbor Public Adjusters, NRG Restore, Attorney Scott Green, Kevin Patel, Blackhawk Motors,
                Shanahowe Transportation, Stenstrom Companies Ltd, Reg Ellen Machine Tool Corp, Victory Sports Complex,
                Ayushi Inc, First Baptist Church of Missouri, Abidon Inc Properties, McClenny, Moseley & Associates, Dr. Carl
                Patrnchak and Associates, Comprehensive Community Solutions, Villa Vista Condominiums, Dowling Investments
                North LLC, Fratelli Investments LLC, Gaynor's Restaurants Group, The Hard Corporation Inc, Howard Johnson
                Hotels, Kramer Photographers, Golden Markets LLC, TriView Property Management LLC, Victory Church.
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                               MARY JO O'NEAL, Sr. GA Adjuster
                          P.L.A.N. Certified Appraiser & Umpire, NFIP, CEA
                                             2226 General Raines Dr., Murfreesboro, TN 37129
                                                              615-849-6400
                                                          Maryjo6400@aol.com

                                                         SUMMARY OF QUALIFICATIONS
                      ■   Certified Appraiser with P.L.A.N. ( Property Loss Appraisal Network)
                      ■   Citizens of Florida — Commercial GA Adjuster
                      •   19 yrs experience Independent Catastrophe Adjuster for various insurance companies with strengths in
                          knowledge of various policies, state guidelines and policy limits.
                      ▪   31 yrs experience in the construction industry with outstanding customer service skills and a high level of ethics
                          and professionalism.
                      •   42 yrs experience in Residential and Commercial Real Estate sales with extensive client communication and
                          service skills, Nashville Metropolitan Area
                      ▪   Enthusiastic team player/builder, outstanding communicator and negotiator, one-on-one and groups, written
                          and oral.
                      •   Creative problem solving: maximizing resources and time management.
                      •   Computer skills in Xactimate, Simsol and MS Office products, including paperless file transfer protocols &
                          wireless communication systems.
                      •   State adjuster licenses: Florida, Texas, Louisiana & Georgia
                      •   California Earthquake Accreditation (CEA) Certified.
                      •   National Flood Insurance Program (NFIP) Certified large commercial, dwelling, mobile home, small commercial
                      •   National Incident Management Systems (NIMS) and Incident Command System (ICS) training.
                      •   E-RAILSAFE approved (certification to drive in rail yards)

                                                       PROFESSIONAL EXPERIENCE
                      ■   4 yrs experience as Senior Adjuster & Appraiser representing various carriers:
                          Allstate, Encompass, and Esurance.
                      ■   Court appointed and/or selected umpire on numerous commercial & residential
                          disputed claims throughtout Tennessee and surrounding states with awards in
                          excess of $1.4 million. Invoked as umpire position to settle disputed claims on new
                          auto dealerships, large chain restaurants, multi-unit condominium complexes,
                          large building products retail center, large furniture retail stores, large city owned
                          office & public works buildings, garage maintenance facilities and fire stations.
                          Flood catastrophe adjuster, certified since 2007 with 6 yrs flood adjusting experience in the field.
                          Adjusted numerous claims in excess of $1,000,000.00 in various states including TN, TX, LA, GA & MS
                      ■   Flood certified for Large commercial, dwelling, mobile home and small commercial claims.
                      ■   Evaluated damages, completed estimates, negotiated with policyholders or their contractors and settled claims
                          in a professional manor with minimum or no supervision or file rejection.
                      ■   Managed multiple claim assignments, accomplished 1st contacts and set reserves within required time
                      ■   Consistently maintained priority of customer service skills along with time management in a highly pressurized,
                          multi-tasking environment under emergency conditions.
                      ■   Experience Sinkhole claims settling for Citizens of FL.
                      •   Completed Citizens of FL Large Commercial Desk Adjuster training as a
                          Commercial GA adjuster.
                      ■   Experienced in adjusting commercial liability claims involving in-depth investigation of large
                          commercial claims to establish cause or fault as well as bodily injury claims.
                      ■   Catastrophic Insurance Adjuster for Hurricanes Charlie, Francis, Jean, Katrina, Wilma, Gustov, Ike. Irene,
                          Sandy, Harvey, Irma, Michael etc., and Tropical Storm Dolly.
                      ■   Participated in settling claim assignments as an appraiser as well as selected as an umpire on various claims.
                      ■   Catastrophic Insurance Adjuster for Hurricanes, Hail, and Tornado events in TX, IN, KY, TN, MN, MO, FL, KS,
                          NC, VA, NJ, LA, IA MS and Flood events in TN, MS, LA, TX, FL and IL.
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                           ■    Liability Claims Adjuster (Personal Injury, Commercial, Residential & Automotive)

                                                      CONSTRUCTION & REAL ESTATE

                           ■   Shared responsibility in floor plan selections and design with architectural changes, to setting and maintaining
                               the construction budgets, overseeing the construction process and accomplishing the goal of higher profitability
                               for the contracts.
                               Assisted contractors with the overseeing of all phases of the building process while developing a working
                               knowledge of residential construction.
                           •   Managed multiple listings for sellers and builders/contractors while assisting multiple buyers in the selection,
                               negotiation, loan qualification and closing process of all real estate transactions.
                           •   Accomplished multi-million dollar sales awards several years in a row. Customer service as the main focus,
                               with high ethical standards, professionalism and self-motivation attributing key factors.


                                                                            HISTORY

                      2003 - Present                Adjusted for various independent adjusting companies since 2003 including, but not limited
                                                    to, Worley Co., EA Renfroe, Eberls, Pacesetter Claims, Team One, Bradley Stinson &
                                                    Assoc., NCA, Administrative Strategies, Colonial Claims, RJMW & CIS Specialty Claims.
                      1976 - 2018
                      Key Concepts Real Estate                2017 - Present
                      Bob Parks Realty, Murfreesboro, TN      2013 - 2017
                      Encore Real Estate Assoc.              2007 - 2010
                      Prudential - Rowland Real Estate       1999 - 2007
                      Bob Parks Realty, Murfreesboro, TN     1997 - 1999
                      Crye-Leike Realty, Murfreesboro, TN    1995 - 1997
                      Prudential Real Estate Assoc.          1987 - 1995
                      Mayes Real Estate                      1979 - 1987
                      General Contractor            1976 - 1989

                                                              EDUCATION & TRAINING
                      Certificate of Completion — Citizens of Florida Commercial DA Training Program (as a Commercial GA Adjuster)
                      Certificate, Flood Certified, (NFIP) Large Commercial, Dwelling, Mobil Home & Small Commercial
                      Certificate, Property Damage Course, Epps Insurance Training Program, Dallas, TX
                      Certificate, Earthquake Accreditation
                      Donan Engineering Roof Systems Course
                      Certificate, Insurance License for the State of Tennessee
                      Certificate, Auto Adjusting - Allstate
                      Certification of Completion - Adjusting Auto Flood & Hail Losses training
                      Certificate of Completion — Allstate Auto Adjusting Certification
                      Business Education, Middle Tennessee State University
                      Real Estate Fundamentals & Law, University of Tennessee

                                                  ADJUSTING LICENSE & CERTIFICATION

                      NFIP Certified FCN#05080114 (Including LG Commercial)               Louisiana State Adjusters License #522698
                      CEA California Earthquake Certified                                 Allstate Auto Adjusting Certification
                      Florida state adjusters License #E141507                            Tennessee Real Estate Affiliate Broker License
                      Texas state adjusters License #1263631                              Tennessee Insurance License
                      Georgia state adjusters License #3335254

                      SPECIFIC INSURANCE ADJUSTING EXPERIENCE &/or CERTIFICATIONS
                      State Farm                                                   Nationwide (Wind, Hail & Flood)
                      USAA                                                         Citizens Of Florida
                      Allstate (Property & Auto)                                   Tower Hill (wind & flood) (dwelling & commercial)
                      Citizens of Florida (GA Commercial & Property)                Shelter
                      St Paul Travelers                                             Safeco
                      USF&G                                                         Farm Bureau
                      QBE & QBE 1st                                                 American Family
                      Liberty Mutual — LMAC (Core Adj.)                             Guard Insurance (Commercial property loss claims)
                      NFIP Direct & various flood carriers & WYO co.'s              Farmer's (Fire Ins. Exchange) Flood
                      Consumers Insurance Co. & Continental Western Ins. Co. (commercial liability and auto liability claims)
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                       Affordal
                      rs.CONTI C
                           319 Vann Drive E214
                           Jackson, TN. 38305
                           PH: 731-787-7082
                           FX: 888-400-5523
                           www.afconstruction.net

                           CHRISTOPHER WILLIAMSON TN LIC
                           GC Limit: $1.5M / Umpire / Appraiser

                                                                  REFERENCES:

                 Commercial:

                      1. Airways Motel, 576 Airways Blvd, Jackson, TN.- 731-424-3030
                      2. Bartlett City Hall, 6400 Stage Road, Bartlett, TN - Frank Madlinger 901-820-0820
                      3. Baymont Inn, 465 Vann Drive, Jackson, TN. 731-661-9995, Metal Roof - 5 yr warranty. Alex
                          Bhakta - 731-293-9674
                      4. Optimist Club, 95 Hayes Branch Trail, Jackson, TN - BJ Construction 731-225-3978
                      5. Cat West, 14196 Ft. Campbell, Oak Grove, KY -270-439-0823 - Wayne Baldwin -931-378-3775
                      6. Country Hearth Inn, 2009 W. Reelfoot, Union City, TN.- Raj Patel, 731-885-7774
                      7. Days Inn of Dyersburg, 2600 Lake Road, Dyersburg, TN- V. Patel 731-287-0888
                      8. Deerfield Inn, 414 E. Main St. Adamsville, TN. - Owner - Prakash Patel 731-632-2100
                      9. Denmark Community Center, 533 Denmark Jackson Rd, Denmark, TN.- Floyd Golden 731-217-
                          7995
                      10.Econolodge, 732 W. Church St, Lexington, TN. 731-968-017- Bob Patel, 731-394-0908
                      11.Guest House Inn, 1890 Hwy 45 Bypass, Jackson, TN. 731-664-4312
                      12.Hot Spot, 1291 N. Highland, Jackson, TN.- Al 731-444-4052
                      13.Knights Inn of Paris, 409 Tyson Avenue, Paris, TN.- Ashok Patel 731-642-1822
                      14.Knights Inn, 21305 Hwy 22 North, Parkers Crossroads, TN. - Sam Patel, 731-307-7576
                      15.Magnolia Landing, 100 Magnolia Landing Court, Jackson, TN - Chiquita Perry 731-427-6995
                      16.Moore's Chapel Baptist Church, 10 Napoleon Luther Drive, Milan, TN.-Sarah Smith 731-613-
                          2384
                      17.Park Place Apartments, 100 Boardwalk Cove, Jackson, TN.-Keesha 731-265-0900
                      18.Park Ridge Apartments, 100 Park Ridge Drive, Jackson, TN.-Keesha 731-265-0900
                      19.Park Trace Apartments, 100 Parkwood Trace, Jackson, TN.-Tina 731-421-2710
                      20.Scottish Inn, 15947 Hwy 13 South, Hurricane Mills, TN.-Mr. Patel - 731-968-5235
                      21.Wreck-O-Mended, 1150 Egg Hill Rd, Alamo, TN-731-487-2282
                      22.Days Inn, 13845 Hwy 641 North, Holladay, TN 38341 — Jay Patel - 731-438-2226.
                      23. Raleigh Assembly of God -Memphis, TN -Pastor Allan -901-386-5055.
                      24.Edward D. Jones —David Byrum - 423-506-4622 —Humboldt, Tennessee


                 * * * Ceritied Installer in all types of roofing systems.
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                                                   DAVID W. HILSDON, P.E.
                                                   7975 SODERLUND DRIVE
                                                    MILLINGTON, TN 38053
                                                       CONSULTING ENGINEER
                                                        (901) 485-1071 Vox & Txt
                                                       davidwhilsdonpe@gmail.com

                                                          SCHEDULE
                                                             OF
                                                  PROFESSIONAL SERVICE FEES
                                                             AS
                                                       EXPERT WITNESS


                      Effective Date:         July 3, 2022

                      Re:    Professional Engineer Expert Forensic Witness - retainer, case investigation,
                             evaluation, preparation, deposition, mediation, arbitration & court
                             appearance/testimony, travel, expenses, etc.


                      Non-Refundable Initial Commencement Retainer Fees for case file creation,
                      preparation, correspondence, review & initial research:

                      Fixed Fee Non-Refundable Litigation Commencement Retainer of $1,250.00.


                      Fees for case preparation, correspondence, review, research and travel
                      Beyond initial non-refundable Commencement Retainer:
                      Time (per tenth of hour

                      STAFF:

                      Principal Engineer (P.E.)              $225/hour*
                      Senior Engineer (P.E.)                 $210/hour*
                      Junior Engineer (P.E.)                 $180/hour*
                      Engineer Intern (EI.)                  $165/hour*
                      Forensic Technician                    $100/hour*
                      Administration                         $ 65/hour*

                      *Minimum Trip Fee / Staff member $1,000/Day

                      OUTSOURCED SERVICES:

                      Technical Consultants                  Cost plus 15%
                      Third Party Services                   Cost plus 15%


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                      Fees for Depositions & Court Appearances:

                      1/2 Day - (8:00 until 12:00 Noon or fraction thereof) @ $1,000 minimum per 1/2 Day.
                      Plus Expenses.

                      Full Day - (8:00 A.M. past Noon until 5:00 P.M. or fraction thereof) @ $1,450 minimum
                      per Full Day, continuing after 5:00 PM at $225 per hour rate.
                      Plus Expenses.


                      Expenses:
                                    a.  Travel - @ $0.65/Mile (Auto)
                                    b.  Travel — @ cost plus 25% (Airline, Public)
                                    c.  Tolls & Parking - @ cost plus 25%
                                    b. Room & Meals - @ cost plus 25%
                                    c. Postage & Envelope - @ cost plus 25%
                                    d. Scan Does to file (pdf format) & Email:
                                       24" x 36" @ $10.00/sheet;
                                       8.5" x 11" @ $0.50/sheet
                                    e. Reproduction, copies, prints:
                                       24"x 36" @ $15.00/sheet;
                                       8.5"x11" B&W @$0.25/sheet
                                       8.5" x 11" Color @ $0.75/sheet
                                    f. Vehicle, Equipment, tool rental - @ cost plus 25%
                                    g. Outsourced Services — cost plus 15%


                                                         ***   END ***




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                 FIEIDELBERG St MULLENS, INC
                 INSURANCE CLAIMS CONSULTING. APPRAISAL & UMPIRE SERVICES
                 William Scott Heidelberg, President
                 PH: 731.225.4187




                 Background

                Mr, Heidelberg has a long history in residential and commercial general construction. He has
                lengthy experience in construction techniques and materials, having been self-employed in the
                industry since 1991. Mr. Heidelberg started in the construction industry as a framing employee
                for a residential development company in 1989 and continued form his own construction
                company in 1991, in which he performed as a sub-contractor and general contractor for twenty
                years.
                Mr. Heidelberg has been a licensed independent insurance adjuster since 2005 and has adjusted
                thousands of claims that range from simple residential to extremely complex commercial and
                industrial claims. He has been an advocate for both the insurer as an IA and an advocate for the
                insured as a restoration contractor.
                Mr. Heidelberg has been trained in applied electricity, heating, ventilating and air conditioning,
                as well as plumbing by a major mechanical contractor and held a related position for more than
                five years. He is knowledgeable in codes for building and mechanical trades.

                Mr. Heidelberg currently performing inspections, documentation, and analysis of peril related
                damage, maintenance related damage, building envelope related failures and damage including
                roofs, cladding, windows, doors and water proofing systems. He is currently accepting
                assignments as appraiser for insurers and insureds in simple and complex disputes. He is
                currently accepting appointments as umpire in simple and complex appraisals. He is experienced
                in premises liability evaluation and surveys pertaining to insurance underwriting. These
                inspections encompass residential, commercial, industrial, civic, religious, hospitality, and multi-
                family residential building types.


                Professional Construction Experience

                Mid-South Services. Inc, Jackson, Tennessee 2007-2010
                      •   Operating Partner
                      •   Specializing in renovations of residential dwelling and insurance restoration construction.
                      •   Wind, Water and Fire Mitigation and Restoration.
                      •   Exterior and Interior.
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                   •   Sales

                Jackson Construction, Jackson, Tennessee 1994-2007
                   •   General construction duties including framing and finishing carpentry, tile installation,
                       plumbing, HVAC and electrical.
                   •   New Luxury Dwelling Construction Project Management
                   •   Cantilever Construction on Steep Grades
                   •   Multi-Family Dwelling Construction
                   •   Planning and Design of Developments
                   •   Large-Scale and Small-Scale Commercial Restaurant and Bar Renovation
                   •   Restaurant and Bar Design and Layout
                   •   Commercial Restroom Construction
                   •   Commercial Assembly Place Building Codes Specialist

                Restoration Specialists, Inc, Jackson, Tennessee 1998 — 2004
                   •   Owner/operator.
                   •   Specializing in renovations of residential dwelling and insurance restoration construction.
                   •   Wind, Water and Fire Mitigation and Restoration

                McIntosh Development 1989 — 1991
                   •   General construction duties including framing and finishing carpentry

                S.M. Lawrence Company, Inc Mechanical Contractors 1986-1991
                   •   Residential HVAC, electrical, and plumbing. Installation of residential HVAC systems.
                   •   Commercial HVAC, electrical and plumbing, including zone systems
                   •   Commercial design and installation of HVAC systems
                   •   Industrial design, installation and maintenance of HVAC systems and controls systems,
                       including heavy load industrial chiller systems, variable air volume systems and
                       pneumatic control systems.
                   •   Troubleshooting, electrical and HVAC systems and diagnostics of performance.
                   •   Residential, Commercial and Industrial Air Balancing
                   •   Troubleshooting, electrical and I-WAC systems and diagnostics of performance.
                   •   Residential, Commercial and Industrial Air Balancing
                   •   Certified by American Standard, Trane and Carrier as an installer and technician.
                   •   Memphis State University in Co-op program with SML Inc. (Mechanical Engineering)



                Professional Insurance Claims Experience

                Licensed Independent Insurance Adjuster 2005 — Present
                   •   Kentucky, Indiana, Arkansas, Oklahoma, Texas, Louisiana, Mississippi, Alabama,
                       Florida, Georgia, South Carolina, North Carolina, and Connecticut.
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                      •   Eligible in any state.
                      •   Thousands of successfully closed claims including residential property, commercial
                          property, industrial, liability, retail liability, marine, total loss fire and water related, total
                          loss commercial losses, bio-hazard losses.
                      •   Hundreds of successfully closed large loss residential and commercial claims including
                          shopping centers, churches and industrial/warehousing buildings. Several claims in
                          excess of $2,000,000.00 loss.
                      •   Participation as an independent insurance adjuster in every major tropical event since
                          2005 in the US, as well as most wind and hail events during this time. Participation in
                          wildfire catastrophe as well.
                      •   Trainer


                Professional Alternative Dispute Resolution Experience

                      •   Appraiser, Carrier and insured appointed, 2012 — 2021
                      •   500+ appointments by insurers, 100+ appointments by insureds.
                      •   Umpire, 2015 — 2021
                      •   Years of experience successfully settling claims in litigation for insurers.
                      •   Years of experience in working on behalf of insurance carriers, with attorneys, public
                          adjusters, and forensic engineers to find fair and honest settlements for my clients.
                      •   Years of ADR carrier training
                      •   Fair, ethical, and honest professional practices
                      •   Policy knowledge
                      •   Estimating software expertise.
                      •   Trainer




                Education and Certifications

                      •   State Farm Certified
                      •   NFIP
                      •   USAA Certified
                      •   TWIA Certified
                      •   IICRC — FSRT, WRT
                      •   Licensed General Contractor (retired)
                      •   Memphis State University, Non-traditional student. Mechanical Engineering
                      •   HVAC Trade School
                      •   Jackson State Community College, General Education.
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                                              ACUITY, A MUTUAL INS. CO
                                              t) O BOX 58   .
                                              SHEBOYGAN, WI 53082 •
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